Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 1of48 Page ID #:9

EXHIBIT A
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 2 of 48 Page ID#:10

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“ o

Electronically FILED by Supesor Court of Catifomis, County of Los Angeles on OU2U20WHST OVEN R. Carter, Exacuilve Offleor'Clerk of Court, by C. Coleman.Dopuly Clerk

 

 

 

 

 

 

 

 

 

 

 

ATTORNEY OR PARTY WITHOUT ATTORNEY (Namo, Gato Bor number, end address) FOR COURT USE ONLY Gh-p1¢
“Neil S$. Steiner, Esq. SBN 98606
Steiner & Libo, Professional Corporation
433 N. Camden Drive, Suite 730
Beverly Hills, CA 90210
TELEPHONE NO.: 3105273 aS wayne: 310-273-7679
iE n
SUPERIOR COURT OF CALIFORNIA, CouNTYOF.LOS Angeles .
grreeTaconess: 312 N. Spring Street
waning anprgss: 312 N. Spring Street
crv anozecove:: Los Angeles, CA, 90012
BRANCH NAME: Centra Judicial District
CASE NAME: Stevens v. The Neiman-Marcus Group, ine.
CiVIL CASE COVER SHEET Complex Case Designation CASE NUMBER:
(x) Untimited Cj Linited, (_.]) Counter Jolnder :
oun oun Fited with firet appearance.by defendant | /VOoE
gerne $25,000) Sor 800 ‘ar lose (Cal, Rules of Court, rule 3.402) Derr ;
Items 1-6 balow must be completed (see instructions on page 2).
1. Check one box below for the case typé that best describes this casa: .
Auto Tort Contract Proyistonally Complex Civil Litigation
4 Auto (22) (_] Breach of contractiwarranty (08) (Cal. Rutos of Court, rules 3.400-5.403)
: Uninsured motorist (48) * [) rute’3.740 cottections (09) = Antitrust/Trade raguietion (03)
Other PUPO/WO (Personal Injury/Proporty Other collections (09 Construction defect (10)
Damage/Wrongtul Death) Tort P Insurance cee 148) (~] Mass tort (40) .
(J aspastos (04) Other contract (37) [_] Securities litigation (28)
£_] Product ltabitity (24) Real Property [__] Environmentat'Toxlc tort (30)
(_] Medteat matpractlca (48) (_] Eminent domainiinverss (_] tnsurance coverage clalms arising from the
{<} Other PYPDIWD (23) ’ coridemnation (14): above listed provisionally complex casa
Non-PUPOIWD (Other) Tort {1 Wrongtul eviction (83) _ Hepes (41)
[7] Business tortvunfalr business practice (07) [__] other reat property (28) Enforcement of Judgment
(__] civil rights (08) 7 ” Unlawful Detainer {__] Enforcement of Judgment (20)
(__] Defamation (13) . (—_] Commercial (31) Mteceltaneous-Civil Complaint
[_] Feud (16) (7) Residential (32) (__) rtco (27)
[] intettectual property (19) ” C_] orugs (38) [_] other comptaint (not specified above) (42)
(__] Professional negligence (25) Judicial Review Miscellaneous Clvii Petitton
- oo. Loman non-PYPDAND tort (38)... = Asset forfature (05) [1] Partneratip and corporate governance (2%)
Employment — ‘Betition re: arbitration award (14) LJ ‘Gihar pation (not spadiiad above) (4p
[__] Wrongful termination (38) {____] wnt of mandste (02)
[___] ther employment (15) {__| Other judictat review (39)
2. Thiscase [J ls LX) tsnot complex under rule 3,400 of the Califomia Rules of Court. tf the case Is. complex, mark the
fa -raquiring exceptional judicial management: . .
a. Large number of separately represented patties. (7) Large number of witnesses
b. L_] Extensive motion practice raising difficult or novel 6. [J Coordination with related actions panding In one or more courts
_ Issues that will be time-consuming to resolve in other.countles, states, of countries, or In a federal court
c. ((_] ‘Substantlat amount of documenta ‘evidence - f. (7. J-Substantial postjudgment judicial supérviéion --_-_-

Remedies sought (check‘all that apply): a. monetary b. [__] nonmonetary; declaratory or injunctive relief ¢. C__) punitive

3.

4. Number of causes of action (spacify): Two ,
§. This¢ase” CJ is (cl isnot  aclass actlori sult.
6.
D

  

If thera are any known related cases, file and serve a notice of related case. (You m
ate: January 4, 2019 ’ ‘ >
Neil Ss, Steinex, Esq, _SBN 286 06

{TYPE OR PRINT NAME! .
. . : NOTICE: ce ' :

e Plaintif must file, this cover sheet with tha first paper filed in the actlon or proceeding (except small claims cases or cases filed
under the Probate Code, Family Coda, or Welfare and Institutlons Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
in sanctions. . ,

« File this cover sheet In addition to any cover sheet required by local-court rule, :

» If this case Is complex under rule 3.400 et seq. oftha Califomta Rules of Gourt, you must serve a copy of this cover sheet on all
other partes to the action or proceeding.

e Unless this Is a collectlons case u

 

 

nder rula 3.740 or a complex case, thls cover sheet will be used for statistical purposes only, a
. : x . o!
Farm Adopted tor Mandalory Use CIVIL CASE COVER SHEET sditfns Cal, utes of Count, eulés 2.30, 3.220, 3.400-3,408, 2,740,

Gal, Stondarda of Judicial Adkninistration, ad. 3.10
CM-O10 [Rov, July 1, 2007)

  

 
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 3o0f48 Page ID#:11

INSTRUCTIONS-ON HOW TO COM

To Plaintiffs and Othera Fillng First Papers. if you are filing a ‘first paper ‘(for example;
complete and file, along with your fist paper,

statistics about the types and

numbers of cases

the Civil Case

PLETE THE COVER SHEET

Cover Sheet conlained on page 7.
filed. You must complete items 4 through 6 on the sheet. In item 1, you must check

CM-010

a complaint) in a civil case, you must
This Information will be used to camplle

one box for the cise type, that bast dascribes the.case. Ifthe case fite both's general and 4 more specific type of case listed In item 1,
check the more specific one. If the case has multipte causes of action, check the box that best Indicatés the primary cause of action.

To asalet you In complating the sheet,
sheet must be filed only with your initial paper,
counsel, or both to‘sarictlons under risles.2.30

examples of the.cases that belong ‘under each-case type

in Item 1 are provided below. A cover

Failure to fila @ cover sheet with the first paper filed (n'a civil case may subject a party, its
‘and 3.220 of the Californta.Rules-of Court, ‘ ,

To Parties in Ruls 3.740 Collections Casas. A “coilectlons case” under rule 3.740 Is defined as an action for recovery of money owed
in a sum statad to be cartain that is not more ihan.$25,000, exclusive of iriterest dnd altomey’s faes, arising from.a transaction in which

property, services, or money was acquired on credit.

A colfections case does not include

an action seeking the following: (1) tort

damages, (2) punitive’damages, (3) recovery of real property, (4) recovery of personal property, or {8) a prejudgment writ of attachment.
4.740 collections case on this, form means that it will be exempt from the genaral time-for-service

The Identification of a case as 8 rule
requirements and case management rules,

to the requirements for service and obtaining a judgment in rule 3.740.

To Parties In Complex Cases.
case Is complex.

complaint on all parties

in compiex cases onty, parties must
if a plaintiff belleves the case Is complex under mule 3.400 of the California
completing the appropriate Boxes In Itams 1 and 2. Ifa, plalnilff designates a:case as.complex,
to‘the action. A defendant, may file and serve no later
plainiff's designation, a counter-dasignation thal the case Is not

 

er than the
complex, or, if the plaintiff has made no dasignation,

 

unless e defandant files a responsive pleading. ‘A rule 3.740.collections case will be.eubject

also use tho Civil Case Cover Sheet to designate whether the

Rules of Court, this must be Indicated by
the cover sheet must be served with the
tlme of its firet appearance a joinder In the
a designation that

 

 

the case Is complex, CASE TYPES AND EXAMPLES
Auto Tort Contract - Provisionally Coriptex Civil Utigation (Cal.
Auto (22}—Parsonal injury/Properly Breach of GontraetiWarranty (08) Rules of Court Rules 3.400--3.403)
Daemage/Wrongful Death Breach of RentallLease AntitrustTradé Regulation (03)
Uninsured Motorist (48) (i the Contract (not untawiut datainer Construction Defect (10)
case involves an uninsured or wrongtu! eviclen s \ Claims tnvolving Mass Tort (40)
motorist clalm subject to Conta enol re dor ne a veincs) Securities Litigation (28)
arbitration, check this item Negligent Braach of Contec Environmental Toxio Tort (30)
instead of Auto) Warrenty : . Inaurance Coverage Clatms
Other PUPDAWD (Pereonal Injury! Cther Breach of ContractWarranty (arising fram-provisionally complsx
Property Oamage/Wrongful Death) Collections (2.g., money owed, open case (ype listed above) (41)
Ton sbesto 04) book faccounte) (08) ter Paint Enforcament of Judgment .
3 ’ action Caso—Se in ssa nt,
Asbestos Property Damage Other Promissory Note/Collections iterate farscliniyh of
Asbestos Parsonal Injury! ) sot County)
Wrongful Daath Insurance, Goverage (not provisionally Confession of Judgment (non-
Product Liability (not asbestos or complex) (18) domriostlc Felations)
toxic/anvironmentel) (24) Auto Subrogation  Stoter State Judgmort
Medical Malpractice (45) one es Covert Administrative Agency Award
Me vicere & Surgeons re ntracuat Fraud - _“frot unpaid taxes) Co
ea once = “Other Pretesslonal Healthy Care" “~ -—ive eben Sanad OSPIG- mistns ts stanene cneerapetsomnt eh 2 cm Fallen cece eee artes ee nee
Other pena (23) Eminent Domeininverse Other Enforcanient of Judgment
Premises Liability (@.9., sip ._ Condemnation (18) Case
and fail) ~ on ald eyo g., quiet (its) (28) Miacallancoys Civil Complaint
: er Real. Bs .
Intentional Bodily Injury/PDWD Writ of Possesalon of Real Property Other Complaint (not spocified
{e.g., asaault, vandallsm) Mortgage Foreclosure . - above) (42)
Intentional Infiiction of Quiat Title Declaratory Relief Only
Emotlona! Distress Other Real Property (not eminent tnjunctive Rellet Only (no?
Negligent Infliction of, domain, lendiordftenant, or , harassment)
Emotional. Distress ce, foractosuré) eee . ‘Mecnaalts Wen oe vets
Other PUPDAND Unlawful Detalner Other Commercial Complaint
Non-PUFOMWD (Other) Tort Commercial (31) Case (not-fortmon-complex)
Bustness Tort/Untalr Business Residential (32) ° Olties.clvij Complaint
Practica.{07) Qrups.(38).(.the. case, involves. iHagal (non-toithnon-comiplex)
Civil Rights (eg, discrimination, drugs, ‘check this itam; otherwise, Miscellaneous Civil Petitton
falsa, arrest} (not elvil _ repertas Corminéretal or Residential) Partneiship'and Corporate
harassment) (08) Judictal Review Govemnanes (21)
Defamation (@.9., slander, libel) Asset Forfaiture (05). Other Petition (nof specifiad
(t3) Patition Re: Adbitration Award (11) above) (43)
Fraud (16) Writ of Mandate (02) . Civil Harassment °
Intetiectual Property (19) Wiit-Administrative Mandamus Workplace Vidtance
Professional Negligence (25) Writ-Mandamus on Limited Court Elder/Dependent Adult
Legal Malpractice Case Matter , Abuse. -
Other Profeselénal Malpractice Wiit-Other Limited Court Case Election Contest
(not medical or fegal} Review ¢ Petition for Name Change
Other Non-PI/PDWD Tort (35) Other Judidat Review (38) Petition for Retlef from Late
Employment Review of Health Officer Order Claim
Wrongful Termination (36) Notice of Appeal-Labor Other Clvil Petition
Other Employment (15) Commissioner Appeals ’ "
CHOTO (Rev. ty 1, 2007] CIVIL CASE COVER SHEET Page 2012
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 4of48 Page ID#:12

 

SHORTTTLE: Stevens v. The Neiman-Marcus Group, Inc. CASE NUMBER

 

 

 

 

CIVIL CASE COVER SHEET ADDENDUM -AND
STATEMENT OF LOCATION
(CERTIFICATE OF GROUNDS ‘FOR.ASSIGNMENT TO COURTHOUSE LOCATION)

 

 

This form is required pursuant to Local Rule 2.3 In all new clvil case filings In the Los Arigoles Superlor.Court.

 

 

Step 1:-After completing the Civil Case Cover Sheet (Judictal Council form CM-0140)}, find the exact case type In
Column A that corresponds to the case type indicated in tha Civil Case Cover Sheet

Step 2: In Column 6, check the box for the type of action that best describes the nature of the case.

Step 3: In Column C, circle the number which explains the reason for the court filing location you have

 

 

chosen.
| Applicable Reasons for Choosing Court Filing Location (Column C) |
1. Class actions must be fited in the Stantey Mosk Courthouse, Central District. 7. Location where patitioner resides.
2. Permissive filing In central district. 1 8. Locatlon wherein defandant/respondent! functions wholly.
3. Location where cause of action arose. 9. Location whore one or more of the partias reside.
4, Mandatory personal Injury filing (n North Clatrict. 40. Location of Labor Commissioner flies.

41. Mandatory fillng location (Hub Cases — unlawful detainar, Gmitad
non-caliaction, limited collection, or parsona! injury).

6. Location where performance required or defendant resides.
6. Location of property or pefmanenily garaged vehicle.

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

eS ee Re RRS et pln aos Larne iu i d teen
© Auto 0 (22) LJ A7i00 Motor Vehiale,- Personal InjuryfProperty Damage/Wrongtul Death
5 Uninsured Motorist (46)  |[__) A7140 Personal Infury/Property DamageiWrongful Death - Uninsured Motorist] 1,°4, 11
[1 As070 Asbestos Property Damage daa
Es Asbestos (04) (1) a7221 Anbestas - Persone! injuryfWrongful Desth 1,14
- - -
és Product Liability (24). Cyareeo ‘Product Wisbility (not: aabestos or toxtclenvironmental) coppers Aa Abeer ee fee een
es os [1 a7210 Medical Matpractice - Physlelans & Surgeons 14,11 -
ze Medical Melpract® (45) =). A7240-Othnor-Professional Health Cere Aaatpracie | 484
g =, Other P el Go A7260 Promised Liability (0.¢., slip and" fall oo . os 4,4, 14
; = infury Propty . CTC) A7230 Intentional Bedlly injuryiPropérty Demage/Wrongtul Death (e-9., . 4,4, 11
z 3 Damage: Wrongtil asabult, vandalism, éte.) . \ . 44
* Death 2) [J] 47270 Intentional Initetion of Emottonal Distress ; 14.11
(_] av220 Other Personal injury/Property DamogamWrongi Death 14,54
LAGIV 109 (Rev 2/18) CIVIL CASE COVER. SHEET ADDENDUM ~ oo Local Rule 2.3.
LASC Approved 03-04 AND- } STATEMENT OF LOCATION | ‘ Page 4 of 4

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Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 5of48 Page ID#:13

 

 

 

 

 

 

Employment

pesty

_ Pro

 

 

 

 

 

 

    
  

 

 
  
 
  

Wrongful Termination (38)

     
   

  

Other Employment (15)

 

 
 

(__} A037 Wrongful Termination

a | AG024 Other Employment Complaint Cese
Co AG109 Labor Commissioner Appeals

(C_}Asa04 Breach of RentevLeaae Contract (not untawful detainer or wrongful
eviction)

 

 

 

zt ®uslness Tort (07)
e

$ s Civil Rights (08) (7) As008 Civil Rights/Discriminatton 1,2,3

a. - : -

o 3 oa

e 2 Detamatlon (13) (J 8010 Detamation (standerfilbal) 1,2,3

=

3 g Fraud (16) (7) A6013 Fraud (no contract) 4.2.3

a: : : .

é e Profeselonal Negfigence (26) (] a6017 Legal Malpractice 1.2.3

E8 ((_] Acoso Other Professional Malpractice (not medical or lagai) 1, 2.3
Other (35) Cc) A6025 Other Non-Pefsonal Injury/Propeny Damage tort

  

 

 

 

 

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Breach of .
reach of Gonecu Waren |} ag008 ContracyWearranly Breach -Selor Ploelf (no fraudtnagligence)
(not insurance) - 7} Agot@ Neptigent Breach of ContractWarranty (no fraud) {nes
(J ast2e Other Broach of ContractWarranty (fot fraud or néglyence) 1.26
AG002 Collections Case-Seller Plaintiff 5,8, 11
Collections (09) (J 002 Collections Cas i
(J as012 Other Promissory Note/Callactions Case 6,11
(J A6036 Collections Gase-Purchased Debt (Charged Off Consumer Debt | 8,6, #1
Purchased on or after January 1, 2014) .
insurance Coverage (18) (T6015 Ineurance Coverage (not complex) “14, 2, 5,8 -
(J aéo0e Contractual Fraud 1,2,3,5 |
Other Conuact (37), [[_] A6031 Terttous Interference 1,2,3,5
{_] as027 Other Contract Dispute(net brea elvinsurancaffraud/negiigence) 1,2..3, 8,9
. . * + . - . . * . . . * - - a + =
Ereariormetion (16). ° | A7300 Eminent DoihainyCondemnation Number of parcels. | 2,6
Wrongful Eviction (99) |] Aeo2s! Wrdnatil Eviction Case jae
(1) aso1s Mortgage Forectosure 2,8
Oiiar Real Property (26) CCT As0sT Guitar Tits

  
  

   

   
 

 

 

(J asoed ciner Real Proparty (not eminent domain, lsndlord/tenant, foreclosure),

26°

 
 

 

 

 

 

 

 

 

 

 

 

3 Uniawtiil Detain Commerc! (_] aso2s . Unlawiul Détainer-Commercial (riot drugs or wrongful eviction) * {6,11
__ | Uniawtil DatalgerRestdontial [| AGOZO .Unléwtul Detainer-Resldental (not druge of wrangfut eviction) | 6.14
; puniawtul Detainee {CI ABO20F Unlowlul Detainer-Post-Foreclosure 2, 6,14
s _.._.Post-Forectosure (34
Unlawful Detatner-Drugs (36) |] A602 Untawtul Datalner-Druge 2,6, 11
LACIV 109 (Rev 2/16) CIVIL CASE COVER SHEET ADDENDUM Local Rute 2.3
LASC Approved 03-04 Page 2 of 4

AND-STATEMENT OF LOCATION
 

Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 6 of 48 Page ID#:14

 

sHornTime Stevens v. The Neiman-Marcus. Group, Inc. Cage NUMER

 

 

 

 

 

 

 

    
 

 

   
    

 

 

 

 

 

 

 
     

         

 

   
   
 

 
 

 

     
   
   

 

  
    

 

 

 

 

 

 

 

 

 

 

 

Asset Forfelture (05) |] AG108 Asset Forfolture Case 2.3/6
3 Paiitlon re Arbitration (41) A615. Petition to CompeliContinm/Vacate Arbitration 2,5
&
& CJ ae1s1 wit Administrative Mandamus 2,8
g Wilt of Mandate (02) [J asvé2 writ Mandamus on Limited Court Case Matter 2
3 (_] A615 Writ - Oltior Limttad Court Case Review 2
Other Judicial Review (28) | (_] Ae160 Other writ /Judicial Review 2,8
S Antitrust/Trade Regulation (03) 8003 Anttrust/Trede Regulation —
3 Construction Detect (10) |] A6007 Construction Defect 12,3
5 - :
5 Saree Invosor Mass Tort |{—] agoos Cams Involving Mass Tort 1,2,8
E =
S Securtids tigation (28) |] A038 Securities Litgation Case 142.8
‘a 65
e *  Toxle Toit, 7
3 Environmental (30) [_] 46036 Toxic TorvEnvironmental 1,2,3.8
3 Insurance C: 6 Clalma ‘
= "om Conca at) [7] 48014 Insurance Coverage/Subrogation (complex case only) *- 1,2,6,8
[__] As141 Sister State Judgment . 7 26415 7
2,6
ee [] A6160 Abstract of Judgment
E e Enforcement Cl A107 Contesston aft Judgment (non-domestic relations) 2,9
53 of Judgment (20) [—].A6140 Admirilstrative Agency Award (nol unpald taxes) 2,8
Ble cece cee nnn carne [Leama ABSA Betitlan/ Contieate for. EAN yof Judgement on Unpald Tax...) 2.8
((_] 0112 Othér'Enforcement of Judgment Case 2,8,9
7 2 Ones -
RICO (27) [_] A833 Racketeering (RIGO) Case
: ‘ . (] as0s0 Déctaratory Retlof Only ; 4.2.8
3 5 Other Complaints (J acoso injunctive Relief Onty (not domesticharasemen) 2,8
8 = (Not Specitiad Above) (42) | [7] ago11 Other Commercial Complaint Case {nen-tortinon:complex) 4.28
S fee .
"e -| C—yacooo-: ‘Other Chit: Comptetnt (nén-tortinon-comptex): -
Partnership Corporation a . 2: 8
Goveinsnce (21) CI Ast 43 Pantnafahip arid Corporate Governance Case —
~ Claeias cmt tonigemot 2,3,8
ge [1] A123 Workptace Harassment — 23:9
g3° “other Petitions (Net (7) £6124’ Eider/Deporident Adutt Abuse. Cass ! . 2,3,.9°
 & |. Specitied Above) (43) FJ Asie Election Gontest : " \>
& a (—].Ab110 Potition for Change of irmisithang of Gender ' le
[J ast70 Petition for Rellof from Late Claim ‘Law 2.3.8
(J asioo otner Civil Petition / 2.8
LACIV 109 (Rev 2/16) ~ CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.3

LASC Approved 03-04 AND D STATEMENT OF LOCATION: " *. + Page 3of4
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 7 of 48 Page ID#:15

 

SHoRTIme: Stevens v, The Neiman-Marcus Group, Inc. CASE NUMDER

 

 

 

 

Step 4: Statement of Reason and Addresa. Check-the appropilate boxes for the numbers shown under Column C for the
type of action that you have selected. Enter the address which Is the basts for the filing location, including zip code.
(No address required for class action cases). '

 

aporess: 9700 Wilshire Blvd.
REASON:

oi ceenoosOeo7.csme.o0on

 

 

CIty: STATE: ZP CODE:

 

 

 

 

Beverly Hills CA: [90212

 

- Step 5: Certification of Assignment: | certify that this case Is properly filed in the

t

Central duidicial District of
the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].

    
 

 

Dated: January 4, 2019 _
. J (SIGNATURE OF ATTORNEVIFILING PARTY)
Neil S. Steiner, Bsq.

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
COMMENGCE YOUR NEW COURT CASE:
4. Original Complaint or Petition.
if filing a Complaint, a completed Summons form for issuance by the Clerk.

ty ome agente = sem eay .

 

2 ee cee craven ees eee

2
“3” “Givi Case Cover Sheet, Judicial Council form CM-010. " ™
4

_ Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
02/16). . 0

Payment In full of the filing fee, unless there Is court order forwaiver, partial or scheduled payments.

A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petillorier isa
minor under-18 years of-age will be required by Court in order to issue a summons. .

7. Additional copiés of documents to be Zéntoniied by the Clerk. Copla’ of thé’ cover shéet ahd ‘this addendum” *”
must be-servad along with the summons-and complaint, or other inittating pleading In the case. :

 

 

Tei too (Reverie) Givi GASE COVER SHEET ADDENDUM —Tocal Rule 2.3
LASC Approves 93-04 = ‘AND STATEMENT-OF LOCATION Page 4 of A

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Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 8 of 48 Page ID#:16

48STCVO1917

CS a oo [uot Ly:

 

SUMMONS SUM-100
(CITACION JUDICIAL) ae

NOTICE TO DEFENDANT: The Neiman-Marcus Group, Inc., a
(AVISO AL DEMANDADO): business entity form. unknown; The
Neiman Marcus Group, LLC., a business entity form

unknown, da 1 to 50, Inclusi - ay iY
n and does ° nclusive GR EA 1 PiLED

APR 15.2019
YOU ARE BEING SUED BY PLAINTIFF: James Stevens, a minor
(LO ESTA DEMANDANDO EL DEMANDANTE): by and through hia 5
guardian ad litem, Tanya Brown O T

NOTICE? You have been sued. Tha court may decide against you without your being heard unless you respond within 30 days. Read the information

 

 

betow.

You have 30 CALENDAR OAYS after this summons and legal papers are served on you to fite a written responsé at this court and hava 4 copy
served on the plaintiff. A latter or phone call will not protect you. Your wrilten response must ba In proper lagal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Ontine Self-Help Center (www, courtl 'o.ce.gov/selmelp), your county law brary, or tha courlhouge neares! you. it you cannot pay the fillng fee, ask
the court clerk for a fee waiver form, It you do no! file your response on time, you may lose the case by defaull, and your wages, money, end property
may be taken without further waming from the court. .

There are other legal requirements. You may want to call an allomey right away. If you do not know an allorney, you may want to call an allomey
referral service. If you cannot afford an attorney, you May be eligible for free legal services from a nonprofil legal sefvices program. You can locate
{hase nonprofit groups et the California Legal Services Web site (www. lawhelpcalifornia.org), the Catifornla Courts Online Self-Help Center
(www. courtinfo.ca. gov/saifhelp), or by contacting your local court of county bar association. NOTE: The court has a statutory lien for walved feos and
costs on any settlement or arbitration award of $10,000 or mare in a cWil case, The court's lien must be pad bafore the court will dismiss the case.
jA visor! to ‘han demandedo. Sino respande dentro da 30 dias, ia corte pueds decidir en su contre sin escuchar su version. Lea Ja informacion &
continuaclon

Tiene 30 DIAS DE CALENDARIO después da que le entreguen este cltacién y papalas fegales pere presenter una respuesta por escrito en asia
corte y hacer qua se aniregue una copia al damandante. Una certa o una fameda lelefénica no lo protegen. Su raspusste por esariio Uene que estar
an formato lege! correcto si desea que procesen su cago an la corte. Es posible que haya un formuterio que usted pueda usar pare su respuesia.
Puede encontrar estos formularios de ta corte y més informacion an ef Centro da Ayuda de fas Cortes de Cafifomia (www..sucorte.ca.gov), en fe
biblioteca de layes da su condado o en Ja corte que fe quede mas cerca. Sino puade pager la cuols de presentecién, pida al sacretario de la corte
que fa.06 un formutaro de exencién de pego de cuotas. Si no presenta su respuasia e tiempo, puede perder ef caso por incumplimiento y fa corte te
podrd quitar su sueido, dinero y dienes sin més advertencia, . '

Hay otros requisites legaies, Es recomendeble que flame a un abogado inmediatemente. Sino canoce a un abogado, puede llamar 9 un servicio de
remisidn a abogados. SI no puede pagar a un abogado, es posible qua cumpla con ios requisitos para obtener servicios legates gratultos de un

rama de servicios fegales sin fines de lucro. Puede encontrer esfos grupos sin fines da lucro en al siifo web da Califomla Legal Services,
(wew.lawhetpealifomia.org), en ef Centro de Ayuda da las Cartes de Calilomia, (wan.sucarte.ca.gov) o poniéndose en contacto con ja corte o al
colegio da abogades locelas. AVISO: Por ley, la corte tens deracho @ reclamar las cuotas y los costos exentos por imponer un grevamen sobre
cualquier racuperacién de $10,000 6 mas da valor recibids mediante un acuerdo o una concesién de erbilraje en un Caso de derecho civil, Tene que
pager el gravamen.da Ja corte antes de qua la corte pueda dasechar 6! caso, .

@ name and address of (he court ts: . CASE NUMBER;

(El nombre y direccién de te corte @s): Wane od Cras F774 V, 0 y 9
Superior Court of California County of Los Angeles L
312 N. Spring Street

Los Angeles, CA 90012 . oo

Central Judicial District (Civil Unlimited Jurisdict ion)

The name, address, and telephone number of plaini(ffs attorney, oF piaintitf without an attorney, Is:

(El nombre, la direcci6n y ef numero de taléfono del ebogado del demandanie, o de! damandante que no tiene abogado, @s):

 

 

 

 

 

 

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Neil S. Steiner, Bag - SBN 98606 . 310-273-7778 fax; 310-273-7679
Steiner & Libo, Pro essional Corporation pr

433 N. Camden Drive, Suite 730 » Hig

Beverly Hills, CA 9021@tza,, By
. DATE: PR ® vipa Clerk, by _ Deputy
‘Facha)-—* —f5- =e Ay (Secretario) : : {Adjunto)-

 

 

(For proof of service Is summons, use Proot of Service of Summons {form POS-010).)

(Para prueba de entrege de esta citation use ef formulario Proof of Service of Summons, (POS-010)).
- NOTICE TO THE PERSON SERVED: You are served

(seat) 4, [_] as an individual! defendant.

2, [__J as the person sued under the fictitious name of (specify):

 

THE NEIMAN MARCUS GROUP, LLC., A
3. [2X] on behalf of (speci): Bysiness ENTITY FORM UNKNOWN '
under: ([X] CCP 446.10 {corporation} © (7) cep 416.60 (minor)
[__] CCP 416.20 (defunct corporation) {-_] CCP 416.70 (conservatee)
([—_] CCP 416.40 (association or partnership) [__] CCP 416.90 (authorized person)
(C7) other (specify): q
4. ext by porsonal dofivery on (date): og { 0

Form Adopted for Mandatory Use SUMMONS (
seis oom °C Bus

 

 

 

Pago tof $
Code of Givi Procedure §§ 412.20, 465
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Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 9 of 48: Page ID#:17

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+ '

 

. Cciv-01
AYTORNEY (Wame, Slate Bar number, end adtass): . FOR COURTUSEONLY *
Neil S$. Steiner, Esq. SBN 98606 .
Steiner & Libo, Professional Corporation
433 N. Camden Drive, Suite 730 we Loony, #

Beverly Hills, CA 90210 ee
Teepnoneno: 310-273-7778 FAX KO, (Optiocaly 310-273-7679 Nac ee os

EMAIL ADCRRSS (Optra Steinlibo@aol .com
ATTORNEY FOR Wome): Plaintiifa

 

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SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
streeTaocrRese 312 N. Spring Street
waunaaporness: 312 N. Spring Street

 

 

cmvanoz coor: Los Angeles, CA 90012 R 1.272019
pRANcHNAME: Central Judicial District eepansttat
PLAINTIFF/PETITIONER: James Stevens, a minor by and through sites B. Camas BP Se

  

his guardian ad litem, Tanya Brown
DEFENDANTRESPONDENT: The Neiman-Marcus Group, Inc., et.al.

 

APPLICATION AND ORDER FOR APPOINTMENT CASE NUMBER:

OF GUARDIAN AD LITEM—CIVIL, ; 19 STCV 01917

(~_] €X PARTE : .
NOTE: This form Is for use [n elvil proceedings In which a party is a minor, an Incepacitated person, or a person for
whom a conservator has been appointed, A party who seeks the appolatment of a guardian ad fitam in a family law or

juvenile proceeding should use form FL-935, A perty who seeks the appointment of a guardian ad litem in a probate
proceeding should usa form DE-360/GC-100, An individual cannot act 3s a guardian ad litem untess he or she Is

represonted by an attorney or Is an attorney,

 

 

 

 

 

1. Applicant (name): Tanya Brown . {a
a, (3%) the parent of (name): Jamea Stevene

(__] tne guardian of (name):
(__]- the conservator of (name):
(_] a party to the sult.
(J the minor to be represented (i the minor is 14 years of age or older}.
(__] enother interested person (spacify capsclty):
2. This application seeks the appointment of the following person as guardian ad litem (state name, address, end telephone number):
Tanya Brown . ‘
1009 iith Avenue

Hopkins, MN 55343

Phone: 952-994-0535 ,
3. The guardian ad litem Is to represent the Interests of the following person (stale name, address, and telephone number):
James Stevens | a .

1009 llth Avenue ~,

Hopkins, MN 85343
Phone: 952-994-0535

4. The person to be represented Is;

__9. CX) aminor (date of birth): 2/26/2007 im
b. (__} anincompetentperson. +
a. ( a person for whom a4 conservalor has been appointed.

6. The court should eppolnt a guardian ad litem because:
a. (2X) the person nanied in item 3 has a cause or causes of action on which sult should be brought (describe):

Minor, James Stevens was injured while on the premesis of Defendants and as
a result of this incident the minor, James Stevens, sustained severe
injuries and damages.

(J Continued on Attachment 8a.

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=p ap

 

. : ° Papo yore
Form Adoplad tor Margllary Une APPLICATION AND ORDER FOR APPOINTMENT Codo of CWi Prova duro,
Jassie! Coens a “ ~ OF GUARDIAN AD LITEM—CIVIL sophie $7 aleeg

CHAOIO [Rew, Janutty §, 2000)
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 100f48 Page ID #:18

 

 

 

“3 : " ay possiblé.advars tite cel :

 

 

 

 

 

 
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 11o0f48 Page ID#:19

Electronicelly FILED by Supottor Court of Calffomnta, County of Los Angetes on 01/22/2018 03:14 PM Shent R. Carter, Executive Officer/Clork of Court, by C. Coleman,Depuy Clerk

ASSTCV01917
Assigned for all purposes lo: Spring Street Courthouse, Judicial Officer: Christopher Lui

ATIORNEY OR PARTY WITHOUT ‘ATTORNEY (Vane, State Bar number, ond addross):

| Neil S. Steiner, Baq. SBN 98606
Steiner & Libo, Professional Corporation
433 N. Camden Drive, Suite 730

PLO-PI-004
FOR COURT USE ONLY

 

Beverly Hills, CA 90210 -
TELEPHONE NO: 310-273-7778 FAXNO. (Option: Eax: 310-273-7679
E-MAIL ADDRESS (Optonan, Gteinlibo@aol.com
i if me teven;
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
streevaooness: 312 N.Spring Street
mahinoaporess: 312 N.Spring Street
crvanpzpcove LOB Angeles, CA 90012
BRANCH NAME: Centxal Judicial District
PLAINTIFF: Jamea Stevens, A Minor by and through his
guardian ad litem, Tanya Brown

 

 

DEFENDANT: The Neiman-Marcus Group, Inc., a business
entity form unknown; The Neiman Marcus Group, LLC., a
business entity form unknown, and
[x] pores ito 50, inclusive ‘

COMPLAINT—Personal fnjury, Property Damage, Wrongful Death

(__] AMENDED (Nuinber): '
Type (check all that apply): .

(__] MOTOR VEHICLE (2K) OTHER (specify): Premises Liability

((7] Property Damage (] Wrongful Death

(_}) Personal Injury Other Damages (specify): General

Negligence and Strict Liability
“jurisdiction (check all that apply): . .
(] ACTION IS A LIMITED CIVIL CASE CASE NUMBER:
Amount demanded does not exceed $10,000

exceeds $10,000, but does not exceed $26,000 ~
(30) ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)

(__] ACTION IS RECLASSIFIED by this amended complaint
from Umitad to unlimited
from unlimited to timited .
1. Plaintiff (name ornemes):James Stevens, @ minor by and through his guardian ad litem,
Tanya Brown ; .
some _-allegte causes-of-action-ageinst-defendant(name-or:names):-The-Ne iman=Maxcus..Group,,...Inc...;The_ Neiman crenennncn eres

 

 

 

 

 

 

Marcus Group, LLC. and Does i to 50, inclusiv

a
2. This pleading, Including attachments and exhibits, consists of the following number of pages: EIGHT
4. Each plaintiff named above 1s. a competent adult
a, [__] except plaintiff (name):
(1) [7] a comorstion qualified to do business In California
(2) [__] an unincorporated entily (describe): ~
(3) (__} ‘a.publle entity (describe):
(4) (]_aminor [_) an adult .
(a) L__] for whom a guardian or conservator of the estate of a guardian ad'ltem has been appointed
(b) [_] other (specify):
(5) [__] other (specify):

b. (_] except plaintiff (name): .
(4) a corporation quaitfied to do business In Califomia
(2) an unincorporated entity (describe): 1
(3) () a’public entity (describe):
(4) ((_]_aminor anadult .
(a) (__] fer'whom a guardian or conservator of the estate ora querdian ad litem has been appointed
(b) [_) other (specify):

(5) (_} other (specify):

(__] Information about additional plaintiffs who are not compotent adults ts shown In Attachment 3, page of

Farm Approved for Optisnal Use COMPLAINT—Personel Injury, Property Cov of Gia Procedure, ¢ 28.92
end toa tow Janwery 1. 2007) Damage, Wrongful Death Sout s

 
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 12 of 48 Page ID #:20

PLO-PI00

 

 

SHORT TITLE: Stevens v, The Neiman-Marcus Group, Inc. CASE NUMBER:

 

 

 

4.

8.

see

(__] Plaintiff (name):
is doing business under the fictitious name (specify):

and has complied with the fictltious business name tawe.
Each defendant named above Is @ natural person
a. (<) except defendant (name): The Neiman- c. (_) except defendant (name):
Marcus Group, Inc.

(1) [3€] 9 business organization, form unknown (1) (J a business organization, form unknown
(2) [_] 4 corporation (2) [__] a corporation
(3) [7] an unincorporated entity (describe): ‘ (3) ‘(_} an unincorporated entity (describe):

(4) (J a public entity (describe): _ (4) (2) a public entity (describe):

(5) (__] other (specify): (5) ((_} other (specify):
b. CX) except defendant (name): The Neiman d. () except defendant (name):
Marcus Group, LLC ‘
(4) Gc] a business organization, form unknown * (4) (J e business organization, form unknown
(2) [_} acorporaiion (2) L_] a corporation
(3) [1] an unincorporated entity (describe): (3) [__] an unincorporated entity (describe):
(4) (-_] a public entity (describe): (4) [1] 2 pubite entlty (describe):
(5) (J) other specify): (5) (__] othar (specify):

{__| Information about additional defendants who are not natural persons is contained In Attachment 5.

aes er cereeer be ne eie mee ge eee _ ew age

The true names of defendants sued as Does are unknown to plaintif. 7
a. [ac] Doe defendants (specify Doe numbers): 1 to 25, inclusive - ware the-agents or employees of other
named defendants and acted within the scope of that agency or employment. { ,

 

 

SD

b. (X_] Doe defendants (specify Doe numbers): 26 to 50, inicusive are persons whose capacities are unknown to
plaintiff. .
7. () Defendants who are Joined under Code of Civil Procedure section 382 are (names):
8. This court is the proper court because .
a. [_] atleast one defendant now resides In its Jurisdictional area.
b. L_ the principal place of Business of o defendant corporation or" UNINcoTpOTated esecclation is In Its jurisdictional area:
c. [Ge] Injury to person or damaga to personal property occurred in its jurisdictional area. .
d. (__] other (specify): ,
8. [[_] Plaintiff ls required to comply with a claims statute, and

a. FY has compiled with appticable claims statutes, or
b, 1s excused from complying because (specify):

 

PLD-PLO0' fRov. January t, 2007) COMPLAINT—Personal Injury, Property Page 2 of 3

Damage, Wrongful Death
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 13 0f 48 Page ID #:21

PLD-PI-004(4)

 

SHORT TITLE: Stevens v. The Neiman-Marcus Group, Inc. CASE NUMBER:

 

 

 

 

One CAUSE OF ACTION—Promises Liability Page Four
{

ATTACHMENT TO CX) Complaint (} Cross-Complaint
(Use a separate cause of action form for each esuse of action.)

Prem.L-1. Plaintiff (a4gme): Jamea Stevans, a minor by and through his guardian at litem, Tanya’ Brown
alleges the acts ‘of defendants were the legal (proxiniate) cause of damages to plaintift.
On (date): October 29, 2017 "plaintiff was injured on the following premises In the following

fashion (description of premises and circumstances of Infury):
On October 29, 2017 nt approximately 6:00 p.m. Plalnitff James Stovens, sustained Injuries and damages white at Defendants Premesis, The
Neiman-Marous Store located at 9700 Wilshire Bivd, Beverly Hitls, California (hereinafter, referred to as “the premises"). Plaintiff was injured
as 9 direct result of Defendants and cach of thom, failing to maintain and/or nogligontly Inspect and maintain the premesis and by allowing
dog to bo on the premises. At said time end place, Plaintiff sustained injuries when a dog that was on Defendants promises, suddenty attacked,
Junged al and bit down onto Plaintiff, James Steven's shorts, causing injuries ond damages to Plaintiff, The dog being nogtigently maintained
and controlicd by Defendants on their promesis, created 8 dangerous condition on the premests. As a direct result of Defendants fallurs to
maintaln and contro) thelr property and keep thelr property freo from dangerous conditions and as a resulf of Defendants failure to wam of this
danger, Plaintlff sustained injures end damages, By the exereiso of ronsonable and ordinary onre, Defendants knew, or should have known that
the dog posted a dangerous sonditlon and thereby coutd litive prevented tho incidenl, As a proximate result oftho coriduct of Defendants, .
Pisintiff sustained injuries, severo emotional distress and damages. .

Premi-2. [XJ Count One--Negligencé The defandants who negligently owned, maintained, maraged and operated
the described premises were (names): The Neiman-Maxcus Group, Inc.; The Neiman
Marcus Group, LLC and .

(ac) Does 3. “to 50 —

Prem.L-3. Count Two=Willful Fallure to Warn (Civil Code section 846} The defendant owners who willfully
or mailctously failed to guard or warn against a dangerous condition, use, structure, or activity were

(naniés): The Neiman-Marcus Group, Inc.; The Neiman Marcus Group,

- . . LLC..and, + . ~.  repeneneepey as
Gx] ‘Does 3. to SO
Plaintiff, a recreational user, was [X_] an Invited quest (5c) a paying guest.

Prem.t-4. (_] Count Three--Dangerous Condition of Public Property Tha defendants who owned public property
on which a dangerous condition existed were (names): ;

_ ,, F2) does _- HO te ee te ewe ete
a.[—] The defendant puilc entity had £1) ectual [1] constructive.notica ‘of the existence of the
dangerous condition In sufficierit.time prior to the Injury to have corrected It.
b.(__] The condition was created by employees of the defendant public entity.

 

Prem.L-5. a. CX) Allegations about Other Defendants The defendants who were the agente and employees of the
other defendants:and acted within the scope.of the.ageéncy were (names); .

Cx) Does 2. to 50 .

b. Cac] The defendants who are liable to plalntiffe for other reasons and the ‘reasons for thelr ilebility are
(} described In aitachment Pram.L-6.b (32) as follows (neimes):Pialntitr Is ignorant of ths true names and
capacities of the defendants designated herein os does I to $0, inclusive, and therefore sue (hese defendants by ficttitiois names.
Plaintiff is informed and belioves therefore allcges thal each of the defendants designuted as o DOB is legally responsible In some

manner for the events & happenings heroin referred to, Plaintiff will amend thls complaint once the true names are ascertained,

rerun Ceuneh ef Catone CAUSE OF ACTION—Premises Liability: LGaal. Sm*actomsmsecnie
PLD-P1-001(6) (Rev. Jetty 1, 2007) : 0 on s tO
 

Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 14o0f48 Page ID #:22

PLO-PI-004(2

 

SHORTTITLE: Stevens v. The Neiman-Marcus Group, Inc. CASE NUMBER:

 

 

 

embaH CAUSE OF ACTION—General Negligence Page Five.
ATTACHMENT TO (3) Complain [] Cross - Complaint

(Use a separate cause of action form for each cause of action.)

GN-1, Plaintiff (mame): James Stevens, a minor by and through his guardian ad litem,
Tanya Brown .
alleges that defendant (namoe):” The. Neiman-Maxcus Group, Ine., a business entity form
unknown; The Neiman Marcus Group, LLC., a business entity form unknown and

(x3 Does 3 to 50, inclusive |

was the legal (proximate) cause of damages to plaintiff. By the following ects or omissions to act, defendant
negligently caused the damage to‘plalntiff
on (date): October 29, 2017
at (place): at The Neiman-Marcus Store, located at 9700 Wilshire Blvd.,
Beverly Hills, CA and in the county of Los Angeles.
(description of ressons for lability): - ‘
GN-2 Plaintiff repeats, re-alleges and incorporates by reference all of the preceding allegations of this complaint as
though they were stated herein in full. .

GN-3 Defendants and each of them, are the owners, occupiers and/or lessors of the premises, Neiman-Marcus Store,
located at 9700 Wilshire Bivd, in the City of Beverly Hills, California, 90210, and as-such had the duty to inspect their
premises for dangerous conditions that might result in injury, to maintain their premises in a reasonable and safe
condition for use by guests and the public to prevent injury and/or to warn of hazards that might cause injury.
Defendants breached these duties.

GN-4 Plaintiff was injured as a result of defendants, and each of thom, failing to maintain and/or negligently inspected
_.-and-maintained-the-premises,-upon-whioh-plaiiitiff-was. bitten ‘py.a.dog-that.was-on.the.promisos.—As.a proximate.result.
of the conduct of defendants and each of them, plaintiff sustained severe injuries and damages.

GN-5 Defendants and each of them, were negligent in that they failed to maintain the subject premises despite having °
knowledge and/or.the ability to have knowledge of the dangerous condition, and took no action to wam, Plaintiff and/or
allowed the dangerous condition to exist for such a length of time that if defendants had exercised reasonable care in
inspecting the premises, they would have discovered that the dog on the preitiesis created'a dangerous condition and it
would have allowed Defendants time to remedy it or give warning before Plai ntiff was injured.

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Form Approved for Opilana! U2o = . , Gods ar
mpg Gems en GAUSE OF ACTION—General Negligence cli weineeenene

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Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 15o0f48 Page ID#:23

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SHORT TITLE: James Stevens, by and through his - CASE NUMBER:
guardian ad litem, Tanya Brown v. The Neiman-
Marcus Group, Inc., et. al.

 

 

 

 

3

Page SIX
. IRD ACTION
STRICT LIABILITY PURSUANT TO CIVIL CODE § 3342
(By Plaintiff James Stevens, by and through his
. guardian ad litem against all Defendants and Does 1-50)
1. Plaintiff repeats, re-alleges and incorporates by reference all of the preceding
paragraphs as if they were stated herein i in full.
2. The true names and capacities, whether individual, plural, corporate, partnership or

otherwise, of defendants sued herein as DOES 1 through 50, Inclusive, are unknown to plaintiff, who
therefore sues these defendants by such fictitious names. Plaintiff is informed and believes and
thereon alleges that each of the defendants designated herein as @ DOE is the agent and the
|| employees of each of the remaining defendants and in doing the things herein alleged, was acting
within the course and scope of such agency and employment and is negligently or unlawfully
responsible in some manner for the occurrences herein alleged, and negligently or unlawfully caused
damages proximately resulting therefrom to plaintiff as herein alleged. Plaintiff will ask leave of the

court.to amend this: Complaint to allege the trué-names and capacities when ascertained.

mentioned and material hereto, defendants THE NEIMAN- MARCUS GROUP, INC.; THE
NEIMAN MARCUS GROUP, LLC, and Does 1 to 50, inclusive, were the owners and/or lesees of
the premises and/or keeper of a certain dog that was kept at Defendants premises, The Neiman
Marcus Store is located at 9700 ‘Wilshire. Blvd, Beverly Hills, California 90212. -
4, Plaintiff was walking near defendant's dog when suddenly anid without warning it
-lunged;attacked-at- “and-bit- down on-plaintiff's-shorts; injuring: Plaintiff-Plaintift -was-lawfully-on-
the premises when the incident occurred.

5, - Plaintiff ia'informed, believes and alleges that defendants and each of them knew or
should have known that ‘the dog that bit and/or attacked plaintiff had’a vicious temperament and
Md os : t

 

0 Jie Plaintif -j-informed--and- believes -and. thereon--alleges..that--at-all.times.-herein..

 
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 16o0f48 Page ID #:24

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SHORT TITLE: James Stevens, by and through his CASE NUMBER:
guardian ad litem, Tanya Brown v. The Neiman-
Marcus Group, Inc., et.al.

; Page SEVEN

 

 

 

 

—

disposition, and/or possessed dangerous propensities and was likély to attack and/or injure
human beings and/or it was forseeable that the dog could attack, or bite human beings creating a

dangerous condition on Defendants premises.

6. Plaintiff is informed, believes and alleges that pursuant to the provisions of

Cw oN DH HU SS KY DW

California Civil Code § 3342, defendants and cach of them had a duty to keep their dog properly

contained, controlled, restrained or enclosed on and within the premises.

a
o

7. Plaintiff is informed, believes and alleges that pursuant to the provisions of

_—
-—

California Civil Code § 3342, defendants and each of them had a duty to provide a warning if the

_
wv.

dog was, or could be of a vicious temperament, disposition and/of dangerous propensity on the

i
Ww

premises.

—
b

g, Plaintiff is informed, betieves and alleges that section 3342 imposes strict liability

—_
wa

for the breach of duty to keep a dog properly contained, controlled, restrained or enclosed on or.

—
nN

within

—_
~

---||-one's-property-and-for failing-to provide: a-waming if-there-is-a-dog-of vicious temperament;——~--|-—-~

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oo

disposition or dangerous propensities on this premesis.

_
oO

9. Plaintiff is informéd, believes and alleges that defendants and each of them failed

nN
o

to keep the dog that bit plaintiff properly contained, supervised, controlled, restrained or enclosed
21

22
23

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98. the premises such that it was a danger to persons walking on or near, - the premises. a.
10: = Plaintiff is, informed, belicves and alleges that defendants and each of them failed

\-to-providerany” warnings’ that there was'a-dog:of vicious: temperament; disposition-and- dangerous

 

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propensities on the premises.

11.  Asadirect.and proximate result of the conduct of defendants and each of ther,
including breaching the obligations imposed under Civil Code § 3342, plaintiff was bitten by
defendants’ dog and suffered injury. .

 

 
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 17of48 Page ID #:25

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“. . . . «ae *

 

SHORT TITLE: James Stevens, by and through his CASB NUMBER:
guardian ad litem, Tanya Brown v. The Neiman- sts
Marcus Group, Inc., et. al.

 

 

 

 

‘Page BIGHT
"42: Asa direct and proximate result of the conduct, acts and omissions of defendants
and each of them, plaintiff was hurt and injured in his health, strength and activity, sustaining
injuries to his person and nervous system, all of which have caused and continue to cause him
severe emotional distress, great mental, physical and nervous pain and suffering. The precise
amount of plaintiff's damages has not yet been determined but is believed to be in excess of the
jurisdiction of the Unlimited Superior Court, according to proof at trial,

13. On October 29, 2017, at approximately 6:00 p.m. plaintiff, at Defendants
PREMISES, At the said time and place plaintiff was suddenly attacked bya dog who suddenly
came at and jumped out and attacked, clawed, bit, mauled and seriously injured plaintiff.

14, Asa proximate result of the actions of defendants’ dog, plaintiff sustained serious
injuries as well as severe emotional injuries and severe emotional distress.

15, As a proximate result of the actions of defendants' dog, plaintiff was hurt and
injured in his health, strength and activity, sustaining injuries to‘his person and nervous system,
all of which have caused and continue to cause plaintiff great mental, physica! and-nervous pain

g .)
and suffering, and severe emotional distress.

w

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16. Further, plaintiff is informed and believes and thereon alleges that these injuries
will result in permanent disability and/or injury.

17. Asadirect and proximate result of the actions of defendants alleged above,
plaintiff has suffered general durhages in a sum ‘which is currently un-ascertained, but which will

be determined prior'to trial:

18. Asa further direct and proximate result of the actions of defendants alleged above,

 

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plaintiff has been damaged, in that he has been required to expend monéy and incur obligations
and will continue to incur’ obligations for medical services, drugs, x-réys and various items
reasonably required in thé treatment and relief of the injuries, including emotional and merital
injuries, alleged herein. The full amount of these expenses is not known to plaintiff at this time,
Plaintiff will seek leave of the court to amend this complaint to state the true amount. when the

|| full nature and extent of plaintiff's injuries has been ascertained.

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Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 18o0f48 Page ID #:26

- DO NOT FILE WITH THE COURT- Clv-050
-UNLESS YOU ARE APPLYING FOR A DEFAULT JUDGMENT UNDER CODE OF CIVIL PROCEDURE § 585 -

 

ATTORNEY OR PARTY WITHOUT ATTORNEY {Nome and Addrass): TELEPHONE NO.: FOR COURT USE ONLY
Neil Steiner (310) 273-7778
Steiner & Libo, Professional Corporation SBN: 98606

433 N. Camden Dr., Suite 730, Beverly Hills, CA 90210
fax number: (310) 273-7679 email: steintibo@aol.com
ATTORNEY FOR (nama): James Stevens
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
street acres: 312 North Spring Street
maine anpress: 312 North Spring Street
coy ano 2p cone: Los Angeles, 90012
BRANCH NAME: Spring Street Courthouse
PLAINTIFF:JAMES STEVENS etc.
DEFENDANT: THE NEIMAN-MARCUS GROUP, INC., ete. et al.

STATEMENT OF DAMAGES CASE NUMBER:
(Personal Injury or Wrongful Death) 19STCV01917

 

 

 

 

 

 

 

 

To {name of one defendant only): The Neiman Marcus Group, LLC

Plaintiff (name of one plaintiff only): James Stevens, a minor by and through his guardian ad litem Tanya Brown
seeks damages In the above-entilied action, as follows:

AMOUNT
1. General damages
2. CC] Pain, suffering, and inconvenlence ........sessesscvesecnsnerseceersssecnnsenmneneennnantectscanecns senses saeesevsecsesearere $
b. (_] Emotional distress, ...,..+csssssecsccsnscssssnsencnsenrerrsunnansrsmaseusenaseanenrasearetanennanenegnn es sot

c. [J] Loss of COMSOMIUI ......scsssssecsssneeonsenessenssersesmnunssunereretsseess
d. C_] Loss of sociey and companionship (wrongful Caath actions ONY) ........---cceseesetersensseeserssemennsnentresaeses $
a eS

6, 7 other (specify) anes ccosntastntnsannsnseeve

g- 1). Continuad on Altachment 1.g.
2. Special damages

   

 

 

  

 

   

 

 

 

 

3. Medical expenses (10 Gate) .......-.srsssessorssssssesssescnrnsses nsessanecssneratsacnsantennenscncn censyeeeenegsaganenssenstersees

b. (2) Future medical expenses (prosant VaIUB) ....cssssesesscssessussseonneensstsesarecneseneentesinensesnereares

c. L__] Loss of eamings (£0 ate) .cccceesseecsmesecesnsatsssenssensenens eae seseaeee resnsnsnne ‘$
4, [1 Loss of future eaming capacity (present Valu6) .usssaessnrsonenmsnnnnrmenenerneieeneannnneneneen $
©. (] Property damage ........ssssssssesersrsersnsessuunsnanerecssusseceneaunanecertisnssensnrcggnangnanranensnngenenenetg name seetee $
t, 7] Funeral expenses (wrongful daath actors Only) ....ssecssrsnsersecessneernaesreneteeeenaeanernan seen tte teens $
Q- (__] Future contributions (present value) (wrongful Baath actions OMY) «00. ceseeerrrenes $
hn. CJ vatue of persona! service, advice, or training {wrongful death actions OnMy) sess rcesnsceneereersereaes $
ote s90019)’ ee
J. 2 other (spect) unsnntunnnneninnnsnnnnnnnnninsnmannn .§

 

«. C_) Continued on Attachment 2.k.
3, (J Punitive damages: Plaintiff reserves the right to seek punitive damages In the amount of (spacify).. $

 

 

 

 

when pursuing a judgment in the suit filed against you. ‘
t

Date: 5/2/19 \ \ NY /nN~ _

Neil Steiner > po veal
(TYPE OR PRINT NAME) . (SIGNATURE OF PLAINTIFF OR ATTORNEY FOR PLAINTIFF}

(Proof of service on reversa) , Pago tof?

ndatory AMAGE Code of Civil Procedure, $4 426.11, 426.116

Fon Adopted oe cetera STATEMENT OF mM S . werw.courtinio.ca.gov

CiV-050 jRev. January 1, 2007] (Personal Injury or Wrongful Death) Westtow Doe & Form Buidere
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 19o0f48 Page ID #:27

PLD-P1-004

 

SHORT TITLE: Stevens v. The Neiman-Marcus ‘Group, Inc. CASE NUMBER:

 

 

 

 

10. The following causes of action are attached and tha statements above apply to each (each complaint must have one or more
causes of action attached): :
a. (_] Motor Vehicle

b. (EJ General Negligence

c, (__] Intentional Tott

d. [—~] Products Liability

oe. LX) Premises Liability

§. CE) otnar (specify): Strict Liability (See attachments, pages six, seven and eight)

41. Plaintiff has suffered

a. (X) wage loss

b. LX) loss of use of property

c. CX) hospital and medical expenses

d. CX) general damage

e. (XJ property damage

t. CE) toss of eaming capacity

g. CX) other damage (specify): Pladintife wae injuted in hig health, strength, and activity, sustaining injury
to his body and sheck and injury te hie nervous system and also severe emotional and mental injury, 81) of
which caused and continue to cause’ great physical, mental, emotional, nervous pain and suffering.
Plainti€f’, hae incurred and continuaes to inourr medical ‘pills. As a result Pleintif£ has been danaged in
an extent not yet known, but exceeding the unlimited duraidiction of the Superior Court.

42, -_] The damages clalmed for wrongful daath and the relationships of plaintiff tothe deceased are
a. L__] ‘listed In Attachment 12, . .
b. (__] as follows:

vet tg ca ane naw vote setasscherammerceete eta batinten aneerrduie eo meeernnre © Sty arm tones Shemeyy 9 oot

 

43, The relief-sought In this complaint Is within the Jurisdiction of this court,

14, Plaintiff prays for Judgment for costs of suit; for such rellef ac Js fair, just, and equitable; and for
a. (4) CX] compiansatory damages
(2) (_) punitive damages
The amount of damages Is (/n cases for personal injury or wrongful death, you must check (1}):
(4) EX} according to proof . oe .
(2) (1) inthe amount of: $

 

45. [EX] The paragraphs of this complaint alleged on Information aiid vellef'ere’as follows: (specify paragraph-numbers)-
ALL PARAGRAPHS

Date: January 4,2019

 

 

 

Neil §. Steiner, Bsa. > .
(TYPE OR PRINT WAME) (SIGNATURE OF PLAINTIFF OR ATTORNEY)
PLO-PI-OD! fRev. danuary 4. 2007) COMPLAINT—Personal Injury, Property Page 3.013

Damage, Wrongful Death
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 200f 48 Page ID #:28

 

 

 

 

 

 

 

 

 

 

 

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| SUPERIOR COURT OF THE STATE OF CALIFORNIA

5 FOR THE COUNTY OF LOS ANGELES

6 . :

7 (N RE PERSONAL INJURY ) CASE NO,: ‘

COURT (“P1COURT") PROCEDURES, )
g ||CENTRAL DISTRICT ) STANDING ORDER RE: PERSONAL
(EFFECTIVE APRIL 16, 2018) ) INJURY PROCEDURES, CENTRAL

9 ) DISTRICT
10 , |
11
12
13 DEPARTMENT: 2 3 4 5 7
14 | FINAL STATUS CONFERENCE (“FSC”):
1 ° DATE: AT 10:00 A.M.
16

TAL;
- | TRIAL |
18 | e DATE: AT 830 AM.
19 OSC RE DISMISSAL (CODE CIV. PROC., § 583.210);
20 ¢ DATE: __ AT 8:30 AM,
af 1 ———
22 TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:
23 Pursuant to the California Code of Civil Procedure (“C.C.P."), the California Rutcs
24 |\of Court (“C.R.C.") and the Los Angeles County Court Rulcs (‘Local Rules”), the Los
} “Angeles Superior Court “LASC” or “Court”) HEREBY AMENDS AND SUPERSEDES |
26 || THE AUGUST 10, 2017 SEVENTH AMENDED GENERAL ORDER AND, GENERALLY,
27 ||ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL JURISDICTION
28 || PERSONAL INJURY ACTIONS FILED IN THE CENTRAL DISTRICT.
Page 1 of 8
Standing Order Re Personal Injury Procedures, Central District
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 210f48 Page ID #:29

‘ 2018-SJ-007~00;

H1. To ensure proper assignment to a Pl Court, Plointifits) must carefully fill out the Civil

 

 

 

1
2 || Case Cover Sheet Addendum (form LACIV. 109). The Court defines “personal injury” as
3 “an untimited civil case described on the Civi] Casa Cover Sheet Addendum and
4, Statement. of Location (LACIV 109) as Motor Vehicle-Personal Injury/Property
5 Damage/Wrongful Death; Personal Injury/Property Damage/Wrongful Death-
6 Uninsured Motorist; Product Liability (other than asbestos or
7 toxic/environmental); Medical Malpractice-Physicians & Surgeons; Other
8 Professional Health Care Malpractice; Pramises Liability; Intentional Bodily
3 Injury/Property Damage/Wrongfl Death; or Other Personal Injury/Property
10 Damage/Wrongful Death. An action for intentional infliction of emotional’
1 distress, defamation, civil rights/discrimination, or malpractice (other then
12 medical malpractice), is not included in this definition. An action for injury to
13 real property is not included i in this definition.” (Local Rule 2.3(a}{1 (A). )
14 Consistent with Local Rule 2.3(a)(1)(A), the Court will assign a case to the PI Courts if
15 plaintiffs) check any of the following boxes in the Civil Case Cover Sheet Addendum:
16 A7100 Motor Vehicle — Personal Injury/Property Damage/Wrongtul Death
17 A7140 Personal Infury/Property Damage/Wrongful Death — Uninsured
18 ‘Motorist so
19 A7260 Product Liability (not asbestos or toxie/environmental)
20 A7210 Medicat Malpractice - Physicians & Surgeons
21 A7240 Medical Malpractice - Other Professional Health Care Malpractice
22 A7250 Premises Liability (e.g,, slip and fall)
23 A7230 Intentional Bodily Injury/Property Damoge/Wrongful Death (e.g,
24 assault, vandalism etc.)
25 A7220 Other Personal jar Propeay Damage wronETa Death
26 The Court will not assign cases to the Pi Courts if plaintiffs) check any boxes elsewhere
27 llin the Civil Case Cover Sheet Addendum (any boxes on pages two and three of that-form).
28 WM ,

Page 2 of 8

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Standing Order Re Personal Injury Procedures, Central District

 

 

 
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 22 of 48 Page ID #:30

2018-SJ-007-00
‘

The Court sets the above dates in this action in the PI Court circled above (Department
2,3, 4,5, oF 7) at the Spring Street Courthouse, 312 North Spring Street, Los Angeles, CA 90012.
(C.R.C. Rules 3.714(b)(3), 3.729.)
FILING OF DOCUMENTS
2. Parties may file documents in person at the filing window an the first floor of the Stanley
Mosk Courthouse (111 N. Hill Street, Los Angeles, CA 90012) or by U.S. Mail or-e-Delivery,
|| which is available online at wuy.lacour,ore (ink on homepage). Please note that filings are no
longer accepted via facsimile and must be filed either in person, via U.S. mail or via e-Delivery.

Claims involving an attomey-client fee dispute, documents in which the filing party is a minor,

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legally incompetent person, or person for whom o conservator has been appointed, requests to
waive court fees (FW-001) and requests for accommodations by persons with disabilities (MC-
4) 0), may not be filed vie e-Delivery.

SERVICE OF SUMMONS AND COMPLAINT

3, Plaintiff(s) shall serve the summons and complaint in this action upon defendant(s) as
soon as possible but no later than shree years from the date when the complaint is filed.

(C.C-P. § 583.210, subd.(a).) On the OSC re Dismissal date noted above, the PI Court will
dismiss the action and/or all unserved parties unless the plaintifits) show cause why the action
or the unserved parties should not be dismissed. (C.C.P. §§ 583.250; 581, subd. (b}4),)

4. The Court sets the above trial and FSC dates on condition that plaintifi(s) effectuate
service on defendant(s) of the summons and complaint within six months of filing the complaint.

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5. The PI Court will dismiss the case without prejudice pursuant to C.C.P, § 581 when no

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party appears for trial.

STIPULATIONS TO CONTINUE TRIAL

6. Provided that all parties agree (and there is no violation of the “five-year rule,” C.C.P.

§ 583.310), the parties may advance or continue any trial date in the Pl Courts without showing

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good cause or articulating any reason or justification for the change. To continue or advance 8

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trial date, the parties (or their counsel of record) should jointly execute and submit (at the filing
window on the first floor of the Stanley Mosk Courthouse, via U.S, mail or via e-Delivery, fee

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Standing Order Re Personal injury Procedures, Centrat District
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 23 0f 48 Page ID #:31

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required) a Stipulation'to Continue Trial, FSC and Related Matlon/Discovery Dates (form
LACIV CTRL-242, available on the court's website, Personal Injury Court link). The PI Courts
schedule FSCs for 10:00 a.m., eight (8) court days before the trial date, Parties secking to
continue the trial and FSC dates shall file the Stipulation at least eight court days before the FSC
date. Parties secking to advance the trial and FSC dates shall file the Stipulation at least eight
court days before the proposed advanced FSC date. (C.C.P. § 595.2; Govt. Code § 70617, subd.
(c)(2).) In selecting a new trial date, parties should avoid setting on any Monday, or the Tuesday
following a court holiday. Parties may submit a maximum of two stipulations to continue trial,

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for a total continuance of six months. Subsequent requests to continue trial will be granted upon
a showing of good cause by foticed motion. This rule is retroactive so that any previously

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granted stipulation to continue tria! will count toward the maximum number of allowed
continuances, os

NO CASE MANAGEMENT CONFERENCES

7. The PI Courts do not conduct Case Management Conferences, ‘The parties need not file

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a Cose Management Statement.

LAW AND MOTION

8. ° Any documents with declarations and/or exhibits must be tabbed. (C.R.C. Rule
3.11 10(f).) All depositions excerpts referenced in biiefa must be marked on the transcripts
attached as exhibits. (C.R.C. Rule 3.1116(c).)

CHAMBERS COPIES REQUIRED

9. In addition to filing original motion papers at the filing window on the first floor of the
Stantey Mosk Courthouse, via U.S. mail or via e-Detivery, the parties must deliver, directly to
the Pl Court courtrooms at the Spring Street Courthouse, an oxtra copy (marked “Chambers

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Copy”) of reply briefs and all other motion papers filed less than seven (7) court days before a

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hearing calendared in the P! Courts, The PI Courts also strongly encourage the parties filing and

opposing lengthy motions, such as motions for summary judgment/adjudication, to submit one

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or more three-ring binders organizing the chambers copy behind tabs.
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Standing Order Re Personal Injury Procedures, Central District
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RESERVATION HEARING DATE

10. - Parties are directed to reserve hearing dates for motions in the PI Courts using the Court
Reservation System (CRS) available online at wwrx/acourtorg (link on homepage). After
reserving a motion hearing date, the reservation requestor must submit the papers for filing with
the reservation receipt (CRS) number printed on the foce page of the document under the caption
and attach the reservation receipt as the last page. Parties or counsel who are unable to utilize
the online CRS may reserve a motion hearing date by calling the PI Court courtroom, Monday
throuph Friday, between 3:00 p.m. and 4:00 p.m.
WITHDRAWAL OF MOTIONS

1]. California Rules of Court, Rule 3.1304(b) requires a moving party to notify the court
immediately if.a matter will not be heard on the scheduled-date, In keeping with that rule, the Pl
Courts urge parties who amend pleadings in response to demurrers to file amended pleadings

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before the date when opposition to the demurrer is due so that the PY Courts do not needlessly

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prepare tentative rulings on demurrers, '
DISCOVERY MOTIONS
12. The purpose of an Informal Discovery Conference (“IDC”) is to assist the parties to

resolve and/or narrow the scope of discovery disputes. Lead trial counse] on each side, or another

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attomey with full authority to make binding agreements, must attend in person. The Pi judges

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have found that, in nearly every case, the parties amicably resolve disputes with the assistance
of the Court, .
13. _ Parties must participate in an IDC before 8 Motion to Compe! Further Responses to

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Discovery will be heard unless the moving party submits evidence, by way of declaration, that
the opposing party has failed or refused to participate in an IDC. Scheduling or participating in
an IDC does not automatically extend any deadlines irnposed by the Code of Civil Procedure for

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noticing and filing discovery motions. Ideally, the parties should participate in an IDC before a

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motion is filed because the IDC may avoid the necessity ofa motion or reduceits scope. Because ,

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of that possibility, attomeys are encouraged to stipulate to extend the 45 {or 60) day deadline for

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filing a motion to compel further discovery responses in order to allow time to participate in an

Page 5 of 8

 

 

 

Standing Order Re Personal Injury Procedures, Central District
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 250f48 Page ID #:33

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IDC.

if parties do not stipulate to extend the deadlines, the moving party may file the motion.
|i to avoid it being deemed untimely. However, the IDC must take place before the motion is
heard so it is suggested that the moving party reserve a date for the motion hearing that is at least
l 60 days after the date when the IDC reservation is made. ‘Motions to Compe! Further Discovery
Responses are heard at 10:00 am. If the IDC is not productive, the moving party may advance
the hearing on a Motion to Compel Further Discovery Responses on any available hearing dste
| that complies with the notice requirements of the Code of Civil Procedure.

 

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14, Parties are directed to reserve IDC dates in the PI Courts using CRS available online at
| werw Incourt.org (link on homepage). Parties are to meet and confer regarding the available
dates in CRS prior to accessing the system. After reserving the [DC date, the reservation

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requestor must file in the appropriate department and serve an Informal Discovery Conference
Form for Persona! Injury Courts; from LACIV 239 (revised 12/14 ar later), at least 15 court days
prior to the conference and attach the CRS reservation receipt es the last page. The opposing

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pasty may file and serve a responsive IDC form, briefly setting forth that party’s response, at
least 10 court days prior to the IDC.
15. Time permitting, the PI Hub judges may be available to participate in IDCs to try to

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resolve other types of discovery disputes,
EX PARTE APPLICATIONS -
16. | Under the California Rules of Court, courts may only grant ex parte relief upon a

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showing, by admissible evidence, that the moving party will suffer “irreparable harm,”

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“immediate danger,” or where the moving party identifies “a statutory basis for granting relief
ex paste.” (C.R.C, Ruls 3.1202(c).) The Pl Courts have no capacity to hear multiple ex parte

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applications or to shorten time to add hearings to their fully booked motion calendars. The PI

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| Courts do not regard the Court’s unavailability for timely motion hearings as an “immediate

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danger” or threat of “irreparable harm” justifying ex parte relief. Instead of seeking ex parte

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relief, the moving party should reserve the earliest available motion hearing date (even if it is
after the scheduled trial date) and should file a motion to continue trial, Parties should also check

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Page 6 of 8

 

 

 

 

Standing Order Re Personal Injury Procedures, Central District
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 26 of 48 Page ID #:34

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the Court Reservation System from time to time because earlier hearing dates may become
available as cases settle or hearings are taken off calendar.

REQUEST FOR TRANSFER TO INDEPENDENT CALENDAR DEPARTMENT

17. Parties seeking to transfer a case from a PI Court to an Independent: ‘Calendar (‘1/C")
Court shall file (at the filing window on the first floor of the Stanley Mosk Courthouse, via U.S.
mail or via e-Delivery) and serve the Court's “Motion to Transfer Complicated Personal Injury
Case to Independent Calendar Court" (form LACIV 238, available on the Court’s website under
the Pl Courts link}, The PI Courts will transfer a matter to an /C Court if the case is not a

 

 

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“Personal Injury” case as defined in this Order, or if it is “compticated.” In determining whether

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a personal injury case is “complicated” the PI Courts will consider, among other things, the
number of pretrial hearings or the complexity of issues presented.

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18, Parties opposing a motion to transfer have five court days to file (at the filing window

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on the first floor of the Stanley Mosk Courthouse, via U.S. mail or via e-Delivery) an Opposition
(using the sare LACIV 238 Motion to Transfer form). ‘

19, The Pl Courts will not conduct a hearing on any Motion to Transfer to UVC Court.
Although the partics may stipulate to transfer a case to an Independent Calendar Department, the
PI Courts will make an independent determination whether to transfer the case of not.

FINAL STATUS CONFERENCE ,

: 20, Parties shal] comply with the requirements of the Pl Courts’ “First Amended Standing

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Order Re Final Status Conference,” which shall be served with the summons and complaint.
JURY FEES ,

21. Parties must pay jury fees no later than 365 calendar days after the filing of the initial
complaint. (C. C. P. § 631, subds. (bo) and (0h)

JURY TRIALS

122, The PI Courts do nol conduct jury tials. “On the trial date, a PI Court will contect the
Master Calendar Court, Department One, in the Stanley Mosk Courthouse. ‘Department One
will assign cases out for trial to dedicated Civil Trial Courtrooms and designated Criminal .

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Courtrooms,

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"Standing Order Re Personal Injury Procedures, Central District
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 27 of 48 Page ID #:35

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SANCTIONS
23. The Court has discretion to impose sanctions for any violation of this general order.
(cc. §§ 128.7, 187 end Gov. Cade, § 68608, subd. (b).)

Dated: Afaul Ioi20 I ,
, Debre K. Weintraub
Supervising Judge of Civil Courts
Los Angeles Superior Court

   

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| Standing Order Re Personal Injury Procedures, Central District
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 28 of 48 Page ID #:36

 
  
  
   
 

 

 

 

 

 

 

 

 

 

 

 

 

 

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3 Gounty of Loa Argo
4 SUPERIOR COURT OF THE STATE OF CALIFORNIA APR 16 PON
5 FOR THE COUNTY OF LOS ANGELES . on fies 0 OtleanCler
6 Slophanta Ghuhg’ OY
> ||SN.RE PERSONAL INJURY ) CASE NO.: ASTOv 01 / 7
COURT (“PLCOURT”) PROCEDURES, ) . -
g || CENTRAL DISTRICT ) STANDING ORDER RE: PERSONAL
(EFFECTIVE APRIL 16, 2018) ) INJURY PROCEDURES, CENTRAL
9 ) DISTRICT
10 )
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13 perartmenr: = 2 (_] 3(_] 4S s 7]
14 FINAL STATUS CONFERENCE (“FSC”):
15
- pate: (74:2) AT 10:00 A.M.
16
‘ 17 TRIAL: .
18 e DATE: “L y ‘20 AT 8:30 A.M.
19 OSC RE DISMISSAL (CODE CIV. PROC., § 583.210):
20 e DATE: |- | COZ _AT 8:30 A.M.
21
22 TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:
23 Pursuant to the California Code of Civil Procedure (“C.C.P."), the California Rules
2.4-}) of-Court-(¢C.R.C.”)-and-the-Los-Angeles-County-Court-Rules-(“Local-Rules”), tht Los
25 || Angeles Superior Court (“LASC” or “Court”) HEREBY AMENDS AND SUPERSEDES
_ 26 || THE AUGUST 10, 2017 SEVENTH AMENDED GENERAL ORDER AND, GENERALLY,
27 |}ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL JURISDICTION
28 || PERSONAL INJURY ACTIONS FILED IN THE CENTRAL DISTRICT.
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Standing Order Re Personal Injury Procedures, Central District : a
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 29 of 48 Page ID #:37

 

 

2018-SJ-007-00

Lil. To ensure proper assignment to a PI Court, Plaintiffs) must carefully fill out the Civil

2 Case Cover Sheet Addendum (form LACIV 109). The Court defines “personal i injury” as:

3 “an unlimited civil case described on the Civil Case Cover Sheet Addendum and

4 Statement of Location (LACIV 109) as Motor Vehicle-Personal Injury/Property

5 Damage/Wrongful Death; Personal Injury/Property Damnge/Wrorigful Death-

6 Uninsured Motorist; Product Liability (other than asbestos or

7 toxic/environmental), Medical Malpractice-Physicians & Surgeons; Other

8 Professional Health Care Malpractice; Premises Liability; Intentional Badily

5 Injury/Property Damage/Wrongful Death; or Other Personal Injury/Property
10 Damage/Wrongful Death. An action for intentional infliction of emotional
11 : _' Gistress, defamation, civil rights/discrimination, or malpractice (other than
12 . medical malpractice), is not included in this definition, An action for injury to
13 real property is not included in this definition.” (Local Rule 2.3(a){1){A).)
14 Consistent with Local Rule 2.3(a)(1){A), the Court will assign a case to the PI Courts if
15 |} plaintiff(s) check any of the following boxes in the Civil Case Cover Sheet Addendum:
16 A7100 Motor Vehicle — Personal Injury/Property Damage/Wrongful Death
17 A7110 Personal Injury/Property Damage/Wrongful Death ~ Uninsured
18 Motorist
19 A7260 Product Liability (not asbestos or toxic/environmental)
20 A7210 Medical Malpractice — Physicians & Surgeons
21 A7240 Medical Malpractice — Other Professional Health Care Malpractice
22 A7250 Premises Liability (e.g,, slip and fall)
23 A7230 Intentional Bodily Injury/Property Domage/Wrongful Death (e.z.,
24 assault, vandalism etc.)
25 A7220 Other Personal [njury/Property Damage/Wrongful Death
26 The Court will not assign cases to the Pl Courts if plaintiff(s) check any boxes elsewherc
27 jin the Civil Case Cover Sheet Addendum (any boxes on pages two and three of that form).
28 | M/

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Standing Order Re Personal Injury Procedures, Central District oe

 

 

 
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 300f 48 Page ID #:38

 

 

 

 

2018-S7-007- 00
1 The Court sets the above dates in this action in the PI Court circled above (Department
2 || 2,3, 4, 5, or 7) at the Spring Street Courthouse, 312 North Spring Street, Los. Angeles, CA 90012.
3 |(C.R.C. Rules 3.734(6)(3), 3.729.)
4 || FILING OF DOCUMENTS
5 1/2. Parties may file documents in person at the filing window on the first floor of the Stanley
6 || Mosk Courthouse (111 N. Hill Street, Los Angeles, CA 90012) or by U.S. Mail or e-Delivery,
7 || which is avnilable ontine at sysav,/acourt.org (link on homepage). Please note that fitings are no
8 |(longer accepted via facsimile and must be filed either in person, vid U.S. mail or via e-Delivery.
9 || Claims involving an attorney-client fee dispute, documents in which the filing party is a minor,
10 legally incompetent person, or person for whom a conservator has been appointed, requests to
11 |} waive court fees (FW-001) and requests for accommodations by persons with disabilities (MC-
12 |)410), may not be filed via e-Delivery.
13 || SERVICE OF SUMMONS AND COMPLAINT
14 |{3. Plaintiff(s) shall serve the summons and complaint in this action upon defendant(s) as
15 {|soon as possible but no later than three years from the date when the complaint is filed.
16 ||(C.C.P. § 583.210, subd.(a).) On the OSC re Dismissal date noted above, the PI Court will
17 || dismiss the action and/or all unserved parties unless the plaintiff(s) show cause why the action
18 {| or the unserved parties should not be dismissed. (C.C.P. §§ 583.250; 581, subd. (b)(4).)
19 |}4. The Court sets the above trial and FSC dates on condition that plaintiff(s) effectuate
20 || service on defendant(s) of the summons and complaint within six months of filing the complaint.
21 4/5. The PI Court will dismiss the case without prejudice pursuant fo C.C.P. § 581 when no
22 || parly appears for trial.
23 || STIPULATIONS TO CONTINUE TRIAL
24 6. Provided that all parties agree {and there is no violation of the “five-year rule,” CCP.
— 25 || § 583.310), the parties may advance or continue any trial date in the PI Courts without showing
26 || good cause or articulating any reason or justification for the change. To continue or advance a
27 || trial date, the parties (or their counsel of record) should jointly execute and submit (at the filing
. 28 window on the first floor of the Stanley Mosk Courthouse, via U.S. mail or via e-Delivery; fee
. Page 3 of 8 ) '
Standing Order Re Personal Injury Procedures, Central District —
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 31o0f 48 Page ID #:39

 

 

 

 

2010-SJ3-007-00
1 || required) a Stipulation to Continue Trial, FSC and Related Motion/Discovery Dates (form
2 || LACIV CTRL-242, available on the court's website, Personal Injury Court link). The PI Courts
3 |/ schedule FSCs for 10:00 a.m., eight (8) court days before the trial date. Parties secking to
-4 |) continue the trial and FSC dates shall file the Stipulation at least eight court days before the FSC
5 {{date. Parties seeking to advance the trial and FSC dates shall file the Stipulation at least eight
6 |} court days before the proposed advanced FSC date. (C.C.P. § 595.2: Govt. Code § 70617, subd.
7 || (c)(2).) In selecting a new trial date, parties should avoid setting on any Monday, or the Tuesday
B || following a court holiday. Parties may submit a maximum of two stipulations to continue trial,
9 |j for a total continuance of six months. Subsequent requests to continue trial will be granted upon
10 |la showing of good cause by noticed motion. This rule is retrouctive so that any previously
11 granted stipulation to continue trial will count toward the maximum number of allowed
12 ||continuances.
13 ||NO CASE MANAGEMENT CONFERENCES
14 }/7. , The PI Courts do not conduct Case Management Conferences, The parties need not file
15 |{a Case Management Statement.
16 || LAW AND MOTION
17 |18. | Any documents with declarations and/or exhibits must be tabbed. (C.R.C. Rule
18 [}3.3110(8.) All depositions excerpts referenced in briefs must be marked on the transcripts
19 |[attached as exhibits. (C.R.C. Rule 3.1116(c).)
20 || CHAMBERS COPIES REQUIRED
21 1}9.- ‘In addition to filing original motion papers at the filing window on the first floor of the
22 || Stanley Mosk Courthouse, via U.S. mail or via e-Delivery, the parties must deliver, directly to
23 || the PI Court courtrooms at the Spring Street Courthouse, an extra copy (marked “Chambers
24 |) Copy”) of reply briefs and all other motion papers filed less than seven (7) court days before a
25 || hearing calendared in the PI Courts, The P! Courts also strongly encourage the parties filing and
26 |! opposing lengthy motions, such as motions for summary judgment/adjudication, to submit one
27 |} or more three-ring binders organizing the chambers copy behind tabs.
28 || ¢/
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— Standing Order Re Personal injury Procedures, Central District —

 
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2018-SJ-007-00
1 || RESERVATION HEARING DATE
2 ||10. Parties are directed to reserve hearing dates for motions in the PI Courts using the Court —
3 ||Reservation System (CRS) available online at www.Jacourt.org (link on homepage). After
’ 4 |{reserving a motion hearing date, the reservation requestor must submit the papers for filing with
5 {the reservation reccipt (CRS) number printed on the face page of the document under the caption
6 }j}and attach the reservation receipt as the last page. Parties or counsel who are unable to utilize
7 |[the online CRS may reserve a motion hearing date by calling the PI Court courtroom, Monday
8 ||through Friday, between 3:00 p.m. and 4:00 p.m. \ |
9 || WITHDRAWAL OF MOTIONS .
10 |[11.  Califormia Rules of Court, Rule 3.1304(b) requires a moving party to notify the court
11 jJimmediately if a matter will not be heard on the scheduled date. In keeping with that mule, the Pl
12 |) Courts urge parties who amend pleadings in response to demurrers to file amended pleadings
13 ||before the date when opposition to the demurrer is duc so that the P1 Courts do not needicssly
14 || prepare tentative rulings on demurrers.
15 || DISCOVERY MOTIONS
16 |}12. | The purpose of an Informal Discovery Conference (“IDC”) is to assist the parties to
17 |} resolve and/or narrow the scope of discovery disputes. Lead trial counsel on each side, or another
18 ||attomey with full authority to make binding agreements, must attend in person. The PI judges
19 |] have found that, in nearly every case, the parties amicably resolve disputes with the assistance
20 || of the Court.
21 || 3. Parties must participate in an JDC before a Motion to Compe! Further Responses to
22 || Discovery will be heard unless the moving parly submits evidence, by way of declaration, that
23 || the opposing party has failed or refused to participate in an IDC. Scheduling or participating in
24 |fan IDC does not automatically extend any deadlines imposed by the Code of Civil Procedure for |
25 || noticing and filing discovery motions. Ideally, the parties should pacticipate in an De before a
26 motion is filed because the IDC may avoid the necessity of a motion or reduce its scope. Becausc
27 |{of that possibility, attomeys are encouraged to stipulate to extend the 45 (or 60) day deadline for
28 || filing a motion to compel further discovery responses in order to allow time to participate in an
PageSof8 ‘ .
“Standing Order Re Personal Injury Procedures, Central District. =

 
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IDC.

If parties do not stipulate to extend the deadlines, the moving party may file the motion -
to avoid it being deemed untimely. However, the IDC must take place before the motion is
heard so it is suggested that the moving party reserve a date for the motion hearing that is at least
60 days after the date when the IDC reservation is made. Motions to Compel Further Discovery
Responses are heard at 10:00 a.m. If the IDC is not productive, the moving party may advance
the hearing on a Motion to Compel Further Discovery Responses on any available hearing date
that complies with the notice requirements of the Code of Civil Procedure.

14. Parties are directed to reserve IDC dates in the PI Courts using CRS available onlinc at
www. lacourt.org (link on homepage). Parties are to meet and confer regarding the available
dates in CRS prior to accessing the system. After reserving the IDC date, the reservation
requestor must file in the appropriate department and serve an Informal Discovery Conference
Form for Personal Injury Courts, from LACIV 239 (revised 12/14 or later), at Icast 15 court days
prior to the conference and attach the CRS reservation receipt as the last page. The opposing
party may file and serve a responsive IDC form, briefly setting forth that party’s response, at
least 10 court days prior to the IDC,

15. Time permitting, the PI Hub judges may be available to participate in IDCs to try to
resolve other types of discovery disputes.

EX PARTE APPLICATIONS

16, Under the California Rules of Court, courts may only srani ex parte relief upon a
showing, by admissible evidence, that the moving party will suffer “irreparable harm,”
“immediate danger,” or where the moving party identifies “a statutory basis for granting reliof
ex parte.” (C.R.C. Rule 3.1202(c).) The Pl Courts have no capacity to hear multiple ax parte
applications or to shorten time to add hearings to their fully: booked motion calendars. The PI
Courts do not regard the Céurt’s unavailability for timely m motion hearings as an “immediate
danger” or threat of “irreparable harm” justifying ex parte relief, Instead of seeking ex parte
relief, the moving party should reserve the earliest available motion hearing date (even if it is

after the scheduled trial date) and should file a motion to continue trial. Parties should also check

:

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Standing Order Re Personal Injury Procedures, Central District

 
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the Court Reservation System from time to time because earlier hcaring dates may become
available as cases settle or hearings ore taken off calendar.

REQUEST FOR TRANSFER TO INDEPENDENT CALENDAR DEPARTMENT

17. Parties seeking to transfer a case from a P1 Court to an Independent Calendar (“I/C”)
Court shall file (at the filing window on the first floor of the Stanley Mosk Courthouse, via U.S.
mail or via ¢-Delivery) and serve the Court’s “Motion to Transfer Complicated Personal Injury
Case to Independent Calendar Court” (form LACIV 238, available on the Court’s website under
the Pi Courts link). The PI Courts will transfer o matter to an VC Court if the case is not a

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“Personal Injury” case as defined in this Order, or if it is “complicated.” In determining whether

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& personal injury case is “complicated” the PI Courts will consider, among other things, the
11 || number of pretrial hearings or the complexity of issues presented.

12 18. Parties opposing a motion to transfer have five court days to file (at the filing window
13 on the first floor of the Stanley Mosk Courthouse, via U.S. mail or- via e-Delivery) an Opposition
14 || (using the same LACIV 238 Motion to Transfer form).

15 jj 19. The PI Courts will not conduct'a hearing on any Motion to Transfer to VC Court,
16 |) Although the parties may stipulate to transfer a case to an Independent Calendar Department, the
17 j| PI Courts will make an independent determination whether to transfer the case or not.

18 j)/ FINAL STATUS CONFERENCE

19 || 20. Parties shall comply with the requirements of the PI Courts’ “First Amended Standing
20 || Order Re Final Status Conference,” which shall be served with the summons and complaint.

21 || JURY FEES

22 ||21. Parties must pay jury fees no later than 365 calendar days after the filing of the initial
23 i} complaint. (C. C. P. § 631, subds. (b) and (c).)

24 || JURY TRIALS

 

25 |{22. The PE Courts do not conduct jury trials, On the trial date, a PI Court will contact the
26 || Master Calendar Court, Department One, in the Stanley Mosk Courthouse. Department One
27 |) will assign cases out for trial to dedicated Civil Trial, Courtrooms and designated Criminal

28 |} Courtrooms.

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Standing Order Re Personal Injury ‘Procedures, Central District

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2018-SJ-007-00

SANCTIONS

23. The Court has discretion to impose sanctions for any violation of this gencral order.

(C.C.P. §§ 128.7, 187 and Gov. Code, § 68608, subd. (b).) f

Dated: Chfarall Nec Ig "etree Kits leuStrat
Debre K. Weintraub

Supervising Judge of Civil Courts
Los Angeles Superior Court

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Standing Order Re Personal Injury Procedures, Central District
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 36 of 48 Page ID #:44

 

 

 

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8 SUPERIOR COURT OF THE STATE OF CALIFORNIA
8 | FOR THE COUNTY OF LOS ANGELES — CENTRAL DISTRICT
10 .
In re Personal Injury Cases Assigned FIRST AMENDED STANDING § ORDER -
1 1! To the Persanal Injury Courts RE: FINAL STATUS CONFE
| (Departments 2, 3, 4, Sand 7 of the Spring ) PERSONAL INJURY ("PI 1} COURTS
12 |! Street Courthouse) (Effective as of April 16, 2018)
13
14

The dates for Trial and Final Status Conference ("FSC") having been set in this matter, the
18 ||Court HEREBY AMENDS AND SUPERSEDES ITS JANUARY 2, 2018 STANDING

17: ||ORDER-RE: FINAL STATUS CONFERENCE, PERSONAL INJURY (“PI”) COURTS

18 ! AND, GENERALLY, ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL

| surispicrion PERSONAL INJURY ACTIONS:

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20
at ! 4. PURPOSE OF THE FSC
22 | The purpose of the FSC is to verify that the parties/counsel are completely ready to
23 || proceed with trial continuously and efficiently, from day to day, unt) verdict. The Pl Courts
24 ||will verify at the FSC that all partles/counse! have (1) prepared the Exhibit binders and Trial
98 | Document binders and (2) met and conferred in an effort to stipulate to ultimate facts, legal
28 |lissues, motions tn Itmine, and the authentication and admissibility of exhibits,
ar |i

20 lil
Page 1of6

 

 

 

FIRST AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL (NJURY COURTS (Effective Apri 16, 2078)

 
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 37 of 48 Page ID #:45

2, TRIAL DOCUMENTS TO BE FILED
At least five calendar days prior to the Final Status Conference, the partles/counse!
shall serve and file (in Room 102 of the Stanley Mosk Courthouse or by e-Dellvary) the
following Trial Readiness Documents: ,
A. TRIAL BRIEFS (OPTIONAL)
Each party/counsel may file, but ts not required to file, a trial brief succinctly

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Identifying:
(1) the claims and defenses subject to litigation;
(2) the major legal issues (with supporting points and authorities);
(3) the relief claimed and calculation of damages sought; and
(4) any other Information that may assist the court at trial.
B. MOTIONS IN LIMINE
' Before filing motions in timine, the parties/counsel shall comply with the
4] statutory notice provisions of Code of Civil Procedure (°C.C.P.") Section 1005 and the
requirements of Los Angeles County Court Rule (“Local Rule’) 3.57(a). The caption of each
motion In fimine shall concisely identify the evidence that the moving party seeks to

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preciude. Parties filing more than one motion in imine shall number them consecutively.

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18 |/ Parties filing opposition and reply papers shall identify the corresponding motion number In
_ 49 {}the caption of thelr papers. So vo

20 Cc. JOINT STATEMENT TO BE READ TO THE JURY

21 For jury trials, the parties/counsel shall work together to prepare and file a Jn
22 || written statement of the case for the court to read to the jury. ‘Local Rule 3.25(9)(4).

23 D. JOINT WITNESS LIST

24 The partles/counsel shall work together to prepare and file a Joint list of all

 

25 || witnesses in alphabetical order by last name that each party intands to call (excluding
28 ||tmpeachment and rebuttal witnesses). Local Rule 3.26(g)(5). The joint witness list shall
27 |l\identify each witness by name, specify which witnesses are experts, and estimate the length

28 || of the direct, cross examination and re-direct examination (if any) of each witness, The
, Page 2of3 . °

 

FIRST AMENDED ORDER RE FINAL 87; ATUS CONFERENCE, PERSONAL INJURY COURTS (Effaciive April 18, 2016)

 

 

 
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 38 of 48 Page ID #:46

: . . bet
1 ||partles/counse! shall Identify all potential witness scheduling Issues and special
requirements, Any party/counsel who sesks to elicit testimony from a witness not Identified

on the witness list must first make a showing of good cause-to the trial court.
| e€. LISTOF PROPOSED JURY INSTRUCTIONS

(JOINT AND CONTESTED)

| The parties/counsel shall folntly prepare and file a list of proposed Jury
instructions, organized In numerical order, specifying the Instructions upon which all sides

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agree and the contested instructions, if any. The List of Proposed Jury Instructions must
include a space by each Instruction for the judge to indicate whether the Instruction was
10 \\ given,
11 | F. JURY INSTRUCTIONS —
12 | ) (JOINT AND CONTESTED)
13 The parties/counse! shall prepare a complete set of full-text proposed jury
44 || instructions; editing all proposed Califomia Civil Jury Instructions (°CACI") and insert party
18 ||name(s) and eliminate blanks and irrelevant material, The parties/counsel shall prepare
- 16 |}spectal Instructions fn a format ready for submission to the jury with the instructlon number,
47 || ttle, and text only (I.¢., there should be no boxes or other Indication on the printed
~ 16 | instruction Itself as to the requesting party).
19 Sc. JOINT VERDICT FORN(S)
20 The partles/counsel shall prepare and jointly file a proposed general verdict

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21 |lfarm or special verdict form (with interrogatories) acceptable fo all sides, Local Rule
22 ||3.25(9)(8). If the parties/counsel cannot agree on a joint verdict form, each party must
23 separately file a proposed verdict farm.

24 H. JOINT EXHIBIT LIST ©

 

25 The parties/counsel shall prepare and file a joint exhibit list organized with
26 || columns identifying each exhibit and specifying gach party's avidentiary objections, if any, tol
. 27 {ladmission of each exhibit. The partles/counsel shail meet and confer In an- n-efiort to resolve:

28 objections: to the admissibility of each exhibit.
‘ " Page 3 of 6

 

FIRST AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS (Effective April 18, 2018)

 

 

 
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 39 0f 48 Page ID #:47

I. . PAGE AND LINE DESIGNATION FOR
DEPOSITION AND FORMER TESTIMONY
If the partles/counse! Intend to use deposition testimony or formar trial
testimony in teu of any witness's [ive testimony, the parties/counsel shall meet and confer

|| and jointly prepare and file e chart with columns for each of the following: 1) the line and

page designations of the depositian or former tastimony requested for use, 2) objections,
3) counter-designatlons, 4) any responses thereto, and §) the Court's ruling.

3. EVIDENTIARY EXHIBITS

The parties/counse! shall jointly prepare (and be ready to tamporarily lodge for
inspection.at the FSC) three sete of tabbed, intemally paginated by document, and properly-
marked exhibits, organized numerically tn three-ring binders (a set for the Court, the Judicial
Assistant and the witnesses). The partles/counsel shall mark all non-documentary exhibits
and insert a simpie written description of the exhibit behind the corresponding numerical tab
in the exhibit binder. If the parties have @ joint signed exhibit list and electronic copies of
thelr respective exhibits, then the partles/counsel will not be required to produce exhibit

 

 

 

{| binders at the FSC. However, the exhibit binders may be requlred by the assigned trial

judge when the trial commences. In the absence of élther a joint signed exhibit list or
electronic coples, exhibit binders will be required by all parties/counsel at the FSC.

4. TRIAL BINDERS REQUIRED IN THE P1 COURTS

The parties/counsel shall jointly prepare (and bo ready to temporarily lodge and
Include the following for Inspection at the FSC) the Trial Documents consisting of conformed
copies, tabbed and organized into three-ring binders with a table of contents thet includes

the following:
Tab A: Trial Briefs (Cptional)
“Tab B: Motions in Liming

Tab C: Joint Statement to Be Read to the Jury
TabD: Joint Witness List oo

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| " Page So!6

 

FIRST AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS. (Effective April 16, 2018)

 

 

 
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 40 0f 48 Page ID #:48

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Tab E: Joint List of Jury instructions (identifying the agreed upon and
contested Instructions)

Tab F; Joint and Contested Jury Instructions

Tab G:; Joint and/or Contested Verdict Form(s)

Tab H: Joint Exhibit List 1

Tab f: _ doint Chart of Page and Line Designation(s) for Deposition and Former
Testimony .
TabJ: - Coples of the Current Operative Pleadings (including the operative

comptalnt, answer, cross-compiaint, if any, and answer to any cross-complaint).

The parties/counsel shall organize motions in Iimine (tabbed in numerical order)
behind Tab B with the.opposition papers and reply papers for each motion placed directly
behind the moving papers. The parties shall organize proposed jury instructions behind
Tab F, with the agreed upon Instructions first in order followed by the contested Instructions

. (including special Instructions) submitted by each side,

|

5. FAILURE TO. COMPLY WITH FSC OBLIGATIONS
The court has discretion to require any party/counsel who falla or refuses to comply
with this Amended Standing Order to show cause why the Court should not impose

‘|Imonatary, evidentiary and/or issue sanctions (including the entry of a default or the striking

of an answer).

 
    

Debre K. Weintraub
Supervising Judge, Civil
Los Angeles Superior Court

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FIRST AMENDEO ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS (Effective April 16, 2018)

 
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 41 0f 48 Page ID #:49

 

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SUPERIOR COURT OF CALIFORNIA

 

COUNTY OF LOS ANGELES:
COURTHOUSE ADDRESS: — —— LED
Spring Street Courthouse : Supe Aer Catfornis
312 North Spring Street, Los Angeles, CA 90012 unty of Los Angales
01/22/2019

 

Shani R Carter, Execute Offer / Gok of Cau

NOTICE OF CASE ASSIGNMENT

UNLIMITED CIVIL CASE

 

" : CASE NUMBER:
Your case is assigned for all puirposes to the judicial officer indicated below. 19STCV01917

 

 

 

 

 

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ASSIGNED JUDGE ‘| DEPT | ROOM

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ASSIGNED JUDGE DEPT
JY {Christopher K. Lui 4A

 

 

 

 

 

 

 

 

 

 

 

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Sherri R. Carter, Executive Officer / Clerk of Court
By ©. Coleman __, Deputy Clerk

Given to the Plaintif{Cross-Complainant/Attorney of Record

on 01/24/2019
(Date)

LACIV 180 (Rev 6/18)

NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/08 : |
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 42 of 48 Page ID #:50

INSTRUCTI FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLI I .
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OF HER RULES
The Division 7 Rules shall have priority over ail other Local Rules to the extent the others are inconsistent.

CHALLENGE TQ ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS ,
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS .
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE ' . ; .
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the

complaint, Counsel must be fully. prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE

The Court will require the parties to attend a final status conference not morc than 10 days before the scheduled trial date, All
parties shalt have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury -instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
. by Chapter Three of the Los Angeles Superior Court Rutes. .

SANCTIONS ‘ .

The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

’ Class Actions .
Pursuant to Local Rule 2.3, all class actions shail be filed at the Stanloy Mosk Courthouse and are randomly assigned to a complex

judge at the designated complex courthouse. If the case is found not to be a class action it will be retumed to an Independent
Calendar Courtroom for all purposes.

alonally Camplex Cases” mee pi vases b cetuetnemt ne
Cases filed as provisionally complex arc initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq,, it will be
randomly agsigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be

retumed to an Independent Calendar Courtroom for all purposes:

 

LACIV 180 (Rev 6/18) NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/08
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 43 of 48 Page ID #:51

Superior Court of California
County of Los Angeles

 

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ALTERNATIVE DISPUTE RESOLUTION (ADR)
INFORMATION PACKET

 

The person who files a civil lawsuit (plaintiff) must include the ADR information
Packet with the complaint when serving the defendant. Cross-complainants must
serve the ADR Information Packet on any new parties named to the action
together with the cross-complaint.

There are a number of ways to resolve civil disputes without having to sue

someone. These alternatives to a lawsuit are known as alternative dispute
resolution (ADR).

In ADR, trained, impartial persons decide disputes or help parties decide disputes
themselves. These persons are called neutrals. For example, in mediations, the
neutral is the mediator. Neutrals normaily are chosen by the disputing parties or by
the court~Neutrals-‘can-help-resolve-disputes-without having-to-go-to-court

 

 

 

 

LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221
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Advantages of ADR

Often faster than going to trial

Often less expensive, saving the litigants court costs, attorney's fees and expert fees.

May permit more participation, allowing parties to have more control over the outcome.

Allows for flexibility in choice of ADR processes and resolution of the dispute.

Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
mutually agree to remedy.

There are fewer, if any, court appearances, Because ADR can be faster and save money, it can reduce
stress.

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Disadvantages of ADR - AOR may not be suitable for every dispute.

if ADR is binding, the parties normally give ‘up most court protections, including a decision by a judge or
jury under formal rules of evidence and procedure, and review for legal error by an appellate court.
ADR may not be effective if it takes place before the parties have sufficient information to resolve the
dispute.

The neutral may charge a fee for his or her. services.

If the dispute is not resolved through ADR, the parties may then have to face the usual and traditional
costs of trial, such as attorney's fees and expert fees.

The Most Common Types of ADR

Mediation

In mediation, a neutral (the mediator) assists the parties in reaching a mutually acceptable resolution
of their dispute. Unlike lawsuits or some other types of ADR, the parties, rather than the mediator,
decide how the dispute is to be resolved.

« Mediation is particularly effective when the parties have a continuing relationship, like
neighbors or business people. Mediation is also very effective where personal feelings are
getting in the way of a resolution. This is because mediation normally gives the parties a chance
to express their feelings and find out how the other sees things.

» Mediation may not be effective when one party is unwilling to cooperate or compromise or
when.one.of.the.parties.has.a.significant advantage in power over the other. Therefore, it may
not be a good choice if the parties have a history of abuse or victimization.

. LAADR 005 (Rev. 03/17)
LASC Adapted 10-03
Cal. Rules of Court, rule 3.221

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® Arbitration

In arbitration, a neutral person called an “arbitrator” hears arguments and evidence from each
side and then decides the outcome of the dispute. Arbitration is typically less formal than a
trial, and the rules of evidence may be relaxed. Arbitration may be either “binding” or “non-
binding.” Binding arbitration means the parties waive their right to a trial and agree to accept
the arbitrator's decision as final. Non-binding arbitration means that the parties are free to
request a trial if they reject the arbitrator's decision.

Arbitration is best for cases where the parties want another person to decide the outcome of
their dispute for them but would like to avoid the formality, time, and expense of a trial. It may
also be appropriate for complex matters where the parties want a decision-maker who has
training or experience in the subject matter of the dispute.

« Mandatory Settlement Conference (MSC)

Settlement Conferences are appropriate in any case where settlement is an option.
Mandatory Settlement Conferences are ordered by the Court and are often held near the date
3 case is set for trial. The parties and their attorneys meet with a judge who devotes his or her
time exclusively to preside over the MSC. The judge does not make a decision in the case but
assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a
settlement.

The Los Angeles Superior Court Mandatory Settlement Conference (MSC) program is free of
charge and staffed by experienced sitting civil judges who devote their time exclusively to
presiding over MSCs. The judges participating in the judicial MSC program and their locations
are identified in the List of Settlement Officers found on the Los Angeles Superior Court website
at http://www.lacourt.org/. This program is available in general jurisdiction cases with
represented parties from independent calendar (IC) and Central Civil West (CCW) courtrooms.
In addition, on an ad hoc basis, personal injury cases may be referred to the program on the
eve of trial by the personal injury master calendar courts in the Stanley Mosk Courthouse or the
asbestos calendar court in CCW.

In order to access the Los Angeles Superior Court MSC Program the judge in the IC courtroom,
the CCW Courtroom or the personal injury master calendar courtroom must refer the parties to

 

the program. Further, all parties 1 Tiust-compléte the-information-requested-in-the-Settlement
Conference Intake Form and email the compieted form to mscdept18 @lacourt.org.

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LASC Adopted 10-03
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Additional Information
To locate a dispute resolution program or neutral in your community:

e Contact the California Department of Consumer Affairs (www.dca.ca.gov) Consumer Information
Center toll free at 800-952-5210, or; .

e Contact the local bar association (http://www.lacba.org/) or;

e Look in a telephone directory or search online for “mediators; or “arbitrators.”

There may be.a charge for services provided by private arbitrators and mediators.

A list of approved State Bar Approved Mandatory Fee Arbitration programs is available at
http://calbar.ca.gov/Attorneys/MemberServices/FeeArbitration/AppravedPrograms.aspxi19

To request information about, or assistance with, dispute resolution, call the number listed below. Or you may
call a Contract Provider agency directly. A list of current Contract Provider agencies in Los Angeles County is
available at the link below. ‘

http://css.lacounty.gov/programs/dispute-resolution-pro ram-dr

County of Los Angeles Dispute Resolution Program
3175 West 6th Street, Room 406
Los Angeles, CA 90020-1798
TEL: (213) 738-2621
FAX: (213) 386-3995

4

 

LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal, Rules of Court, rule 3.221

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Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 47 of 48 Page ID #:55

- DO NOT FILE WITH THE COURT-

CIV-050

-UNLESS YOU ARE APPLYING FOR A DEFAULT JUOGMENT UNDER CODE OF CIVIL PROCEDURE § 585 -

 

433 N. Camden Dr., Suite 730, Beverly Hills, CA 90210
fax number: (310) 273-7679 email: steintibo@aol.com
ATTORNEY FOR (name James Stevens
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
street aconess: 312 North Spring Street
wasn anpress: 312 North Spring Street
crry ano zp cone: Los Angeles, 90012
eRANck Nama: Spring Street Courthouse
PLAINTIFF:JAMES STEVENS etc.

 

 

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Addrass): TELEPHONE NO.: FOR COURT USE ONLY
Neil Steiner (310) 273-7778
Steiner & Libo, Professional Corporation SBN: 98606

 

CASE NUMBER:

STATEMENT OF DAMAGES 19STCV01917

(Personal tnjury or Wrongful Death)

 

 

 

 

To (name of one defendant only): The Neiman Marcus Group, LLC

Plaintiff (name of one plaintiff only): James Stevens, a minor by and through his guardian ad litem Tanya Brown

seeks damages In the above-entitled action, as follows:

  

 

 

 

 

 

 

 

4, General damages AMOUNT
a. CX] Pain, suffering, and Inconvenlence ...se.cccsssssccccsssnisecsssseeessensssneeanannanensenenassensnessenesersnrecnenenaasssseee4tt $2,000,000
b. (__] Emotional distress. ......cscsssssssssssssesssecescestscssescseussssescernsssteusanarenssessonseesnanenacanen camps ssnegananasaenesengsesengs $
c. C_] Loss of consortium empennpititssnininnnnsiinnnininneosnnnnt secseavarven §

d. C__} Loss of saciey and companionship (wrongful daath BCUONS OMY) .....c.seceecorceeserseseetececsesscenersecserneneney $
e.[ J other (specify) essai

fF other (S280). sumnnenemrnennnnrnn

9. (1. Continuad an Attachment 1.9.

2. Special damages
a. Medical expenses (£0 Gate) .......ssssessseesesseesrsiccneessssessnessssnsaceeneace estan setarsetneseaseennsecceaeecangnensennetenreens $ 5,000
b. C2.) Future medical expenses (present VaIUO) ......seccmersenen sonsseesaccasoontansens enrts 3 50,000
c, _] Loss of earings (10 Cate) ...cscsecesescsesssnsssvesasssesncnsescrsssnsnnaseensseueronsetensenseesnircenrscenassacnecreicennasananesnees '$
d, 2] Loss of future eaming capacity (present vale) ...ssmsnessrecemeemseminseneunemanssnnirnsuteaenaeey $
eC Proparty damage .........--. sae cssanannansnsasssesaseonvens secsearaecassatepeecsenssestssoenesessssensentesensean see $
. (2) Euneral expenses (wronglul daath actlons Only) ....rsecsmsrsecsmeecnsssssenessensnennennesanesnnanemccnnanearenne senses $
9g. [~) Future contributions (present value) (wrongful death actions OPUY) ..eesrcrreseee

 

h. 1] vatue of personal service, advice, ar training (wrongful Aeath Actions ONY) ..cceresecersceseeseersererarserceses
(ED otter specity)
j. CD other fspocty)

 

 

k. C] Continued on Attachment 2.4.
3, ("_) Punitive damages: Plaintiff reserves the right to seak punitive damages In the amount of (specify). $

 

 

 

 

 

when pursuing 4 judgment in the suit filed against you. \
Date: 5/2/19 | A, /N~ .
Neil Steiner > jo eet
{TYPE OR PRINT NAME) . (SIGNATURE OF PLAINTIFF GR ATTORNEY FOR PLAINTIFF)

{Proof of service on revarse) ' Pago 1 of 2

ngatory A Codo of Civ) Protodure, §4 425.19, 426,118

FO eee adel Ce ve STATEMENT OF DAM GES . wer, courtinia.ca.gov
CIV-050 (Rav, Westtaw Doc & Farm Sulidere

Sanwary 1.2007] {Personal Injury or Wrongful Death)
Case 2:19-cv-04994-AB-MAA Document 1-1 Filed 06/07/19 Page 48 of 48 Page ID #:56

PLD-P1-001

 

SHORT TITLE: Stevens v. The Neiman-Marcus Group, Inc. GASH NUMBER:

 

 

 

 

10, The following causes of action are attached and the statements above apply to each (each complaint must have one or more
causes of action ettached):

Motor Vehicle

General Negligence

intentional Toit

Products Liability

Premises Liability

Other (specify): Strict Liability (See attachments, pages six,seven and eight)

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KEOUEU

41. Plaintiff has suffered
a. (XX) wage loss

b. FX) toss of use of property

c. LX] hospital and medical expenses

d. CX) general damage

e. (2) property damage

{t. C0) toss of eaming capacity

g. CX} other damage-(spacify}: plainti€e wee injured in his health, strength, and activity, sustaining injury

to hie body end ‘shock and injury to hie nervous system and also severe emotional and mental injury, 811 of
which caused and continue to cause’ great physical, mental, emotional, nervous pain and suffering.
Plaintsie@f, has incurred end continues to incurr medical ‘pills. Aa a result Pleintife haa been damaged in
an extent not yet known, but exceeding the unlinited Jursidiction of the Superior Court,

12. C_] The damages clalmed for wrongful death and the relationships of plaintiff to the deceased are
a. _] ‘listed In Attachment 12, : .
b, C_] as follows:

ta qe cues seer pote (etgtese semana team sqeimny ieegindtes paw saver snare Stay sree mane © She waner tng ree gm ore eens cenena nce teeanee eres tomy Pabee

 

43. The relief-sought In this complaint Is within the Jurisdiction Of this court.

14. Plaintiff prays for Judgment for costs of suit; for such reilef as Is fair, Just, and equitable; and for
a. (4) [&] compensatory damages
(2) (J punitive damages
The amount of damages Is (in cases for personal injury or wrongful death, you must check (1):
(1) LX) according to proof . Coe .
(2) [£7] inthe emount of: $

 

 

45, [X] The paragraphs of this complaint alleged on information and Wallet ere-as follows:(specify paragraph-numbers):
ALL PARAGRAPHS

Date: January 4,2019

 

>.

{TYPE OR PRINT NAME) (SIGNATURE OF PLAINTIFF OR ATTORNEY)

PLOSPLOD! (Rev. January 9, 2007) COMPLAINT-—Personal injury, Property Page 3 of
Damage, Wrongful Death ‘
